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                                      Exhibit C

        Schedule of Deficient Claims to Be Disallowed via Notice of Presentment
                                  Case:17-03283-LTS Doc#:14624-3 Filed:10/20/20 Entered:10/20/20 11:16:00                                                     Desc:
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                                                                   Ninety-Second Omnibus Objection
                                           Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                       ASSERTED CLAIM
    NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
1   SOLIS FONSECA, CARMEN M                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    38062             Undetermined*
    EXT. LAS MERCEDES CALLE YUQUIBO EE-42
    LAS PIEDRAS, PR 00771

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
2   SOLIS LLANOS, CORALIS                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    141943            Undetermined*
    CALLE 58 BLOQUE 637
    JARD DE RIO GRANDE
    RIO GRANDE, PR 00745

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
3   SOLIVAN CENTENO, ZULMA Y.                                                               6/28/2018      17 BK 03566-LTS Employees Retirement System of the             123685            Undetermined*
    ALTURAS DE VILLA DEL REY                                                                                               Government of the Commonwealth
    B4 CALLE 28                                                                                                            of Puerto Rico
    CAGUAS, PR 00725

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
4   SOLIVAN MATOS, LYDIA E.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    93415             Undetermined*
    HC-02 BOX 31534
    CAGUAS, PR 00725-9410

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
5   SONERA RODRIGUEZ, MIGDALIA                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    85101             Undetermined*
    24835 CALLE MONTADERO
    QUEBRADILLAS, PR 00678

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
6   SONIA SANTIAGO ROMAN                                                                    7/14/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62481                 $ 60,000.00
    CALLE 4 E12 FCO. OLLER
    BAYAMON, PR 00956

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 1 of 136
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                                                                    Ninety-Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
7    SOSA HERNANDEZ, AMARILYS                                                                6/27/2018      17 BK 03566-LTS Employees Retirement System of the             43455             Undetermined*
     COND. PLAZA DEL ESTE                                                                                                   Government of the Commonwealth
     AVE. MAIN 501 APT. 79                                                                                                  of Puerto Rico
     CANOVANAS, PR 00729-2922

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
8    SOSA HERNANDEZ, MAYRA                                                                   6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    53058             Undetermined*
     F8 CALLE 4 MOUNTAIN VIEW
     CAROLINA, PR 00985-8065

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
9    SOSA HERNANDEZ, MAYRA                                                                   6/27/2018      17 BK 03566-LTS Employees Retirement System of the             56600             Undetermined*
     F8 CALLE 4                                                                                                             Government of the Commonwealth
     MOUNTAIN VIEW                                                                                                          of Puerto Rico
     CAROLINA, PR 00987-8065

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
10   SOSA RODRIGUEZ, MILDRED                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55358                $ 75,000.00*
     CALLE A BB-4 HILL MANSIONS
     SAN JUAN, PR 00926

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
11   SOSTRE PONCE, MATILDE                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    98231             Undetermined*
     URB. LA INMACULADA
     14 CALLE 102
     VEGA ALTA, PR00692

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
12   SOSTRE RIVERA, LUZ V.                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58065             Undetermined*
     HC 74 BOX 5905
     NARANJITO, PR 00719

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 2 of 136
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                                                                    Ninety-Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
13   SOSTRE ROSARIO, GLORIA MARIA                                                             7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    159596            Undetermined*
     HC02 BOX 8640
     COROZAL, PR 00783

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
14   SOSTRE ROSARIO, NORMA                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68075             Undetermined*
     RR05 BUZON 9311
     TOA ALTA, PR00953

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
15   SOTO ABREU, GILBERTO                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70132             Undetermined*
     URB. VALLE COSTERO CALLE CONCHA 3652
     SANTA ISABEL, PR 00757-3212

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
16   SOTO ACEVEDO, SHEILYMAR                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    52114             Undetermined*
     PO BOX 1357
     AGUADA, PR 00602

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
17   SOTO ACEVEDO, SHEILYMAR                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    54246             Undetermined*
     PO BOX 1357
     AGUADA, PR 00602

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
18   SOTO AGOSTO, MARISABEL                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the             58917             Undetermined*
     URB BAIROA CALLE SANTA MARIA J-11                                                                                      Government of the Commonwealth
     CAGUAS, PR 00725                                                                                                       of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
19   SOTO BARRETO, LILLIAM                                                                   6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49146             Undetermined*
     #7508 AVE. AGUSTIN RAMOS CALERO
     ISABELA, PR 00662

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 3 of 136
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                                                                    Ninety-Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
20   SOTO CABAN, BRUNILDA                                                                     7/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    112339            Undetermined*
     BOX 550
     MOCA, PR 00676

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
21   SOTO CALDERÓN, LIZ A.                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61452                $ 14,400.00*
     P.O. BOX 1521
     DORADO, PR 00646

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
22   SOTO CASTRO, CARMEN M.                                                                  6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51597             Undetermined*
     PO BOX 679
     PENUELAS, PR 00624

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
23   SOTO CASTRO, CARMEN M.                                                                  6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51616             Undetermined*
     PO BOX 679
     PENUELAS, PR 00624

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
24   SOTO CASTRO, CARMEN M.                                                                  6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78170             Undetermined*
     PO BOX 679
     PENUELAS, PR 00624

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
25   SOTO CENTENO, JUDITH                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64650             Undetermined*
     URB. RAHOLISA #19 A
     SAN SEBASTIAN, PR 00685

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
26   SOTO DIAZ, ANA C                                                                        6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64080             Undetermined*
     PO BOX 9167
     HUMACAO, PR 00792

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 4 of 136
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                                                                    Ninety-Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
27   SOTO ESCALERA, CRUZ M.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    150294            Undetermined*
     P O BOX 954
     COAMO, PR 00769

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
28   SOTO FIGUEROA, MAGDA L.                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             142466            Undetermined*
     P.O. BOX 624                                                                                                           Government of the Commonwealth
     PATILLAS, PR 00723                                                                                                     of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
29   SOTO FIGUEROA, NANCY                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68174             Undetermined*
     MONTE CASINO 2
     ZORZAL 506
     TOA ALTA, PR00953

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
30   SOTO FIGUEROA, NANCY                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    63249             Undetermined*
     MONTE CASINO 2
     ZORZAL 506
     TOA ALTA, PR00953

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
31   SOTO GONZALEZ, ALJADY                                                                   6/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57278             Undetermined*
     HC3 BOX 10991
     JUANA DIAZ, PR 00795-9502

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
32   SOTO HERNÁNDEZ, NICOLAS J.                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    60373             Undetermined*
     HC-02 BOX 9615 COMUNIDAD SINGAPUR
     JUANA DÍAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
33   SOTO LAMBOY, SONIA M.                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65783             Undetermined*
     HC-03 BOX 8696
     GUAYNABO, PR 00971

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 5 of 136
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                                                                    Ninety-Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
34   SOTO LEBRON, ZULMA                                                                      6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76348             Undetermined*
     BO CACAO ALTO
     HC 63 BOX 3299
     PAPILLAS, PR 00723

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
35   SOTO LÓPEZ, MAYDA LIZ                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the             40684                $ 42,700.00*
     URB. REINA DE LOS ANGELES CALLE 7 D5                                                                                   Government of the Commonwealth
     GURABO, PR 00778                                                                                                       of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
36   SOTO LOPEZ, YARIXA                                                                      6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79030                 $ 15,000.00
     URB. SANTA MARIA HACIENDA BELGODERE C-34
     GUAYANILLA, PR 00656

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
37   SOTO MARTINEZ, MAGALY                                                                   6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49185             Undetermined*
     ALTURAS DE BUCARABONES
     3 V 4 SOUTH MAIN
     TOA ALTA, PR00953

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
38   SOTO MARTINEZ, MAGALY                                                                   6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    52503             Undetermined*
     ALTURAS DE BUCARABONES
     3V 4 SOUTH MAIN
     TOA ALTA, PR00953

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
39   SOTO MARTINEZ, MAGALY                                                                   6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    52945             Undetermined*
     ALTURAS DE BUCARABONES
     3V 4 SOUTH MAIN
     TOA ALTA, PR00953

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 6 of 136
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                                                                    Ninety-Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
40   SOTO MARTINEZ, MAGALY                                                                   6/26/2018      17 BK 03566-LTS Employees Retirement System of the             55243             Undetermined*
     ALTURAS DE BUCARABONES                                                                                                 Government of the Commonwealth
     3V 4 SOUTH MAIN                                                                                                        of Puerto Rico
     TOA ALTA, PR00953

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
41   SOTO MARTÍNEZ, MAGALY                                                                   6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     41117            Undetermined*
     ALTURAS DE BUCARABONES
     3V4 SOUTH MAIN
     TOA ALTA, PR00953

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
42   SOTO MEDINA, GLORIA                                                                     6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70402             Undetermined*
     HC 02 BUZON 8252
     ADJUNTAS, PR 00601

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
43   SOTO MEDINA, GLORIA                                                                     6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70156             Undetermined*
     HC 02 BUZON 8252
     ADJUNTAS, PR 00601

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
44   SOTO MELENDEZ, MIRIAM E                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    82499             Undetermined*
     URB.BRASILIA
     E-21 CALLE-3
     VEGA BAJA, PR 00693

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
45   SOTO MORALES, JUAN A.                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    86266                 $ 30,000.00
     PO BOX 3032
     ARECIBO, PR 00613-3032

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 7 of 136
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                                                                    Ninety-Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
46   SOTO OLIVERO, DIANA                                                                     6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66705             Undetermined*
     URB. LAS ALONDRAS CALLE 1 A7
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
47   SOTO ORTIZ, ALEJANDRO                                                                   6/27/2018      17 BK 03566-LTS Employees Retirement System of the             73182             Undetermined*
     PO BOX 641                                                                                                             Government of the Commonwealth
     GUANICA, PR 00653-0641                                                                                                 of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
48   SOTO PAGAN, CALIMAR                                                                     6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57351             Undetermined*
     #92 URB PASEO TORRE ALTA G4
     BARRANQUITAS, PR 00794

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
49   SOTO PAGÁN, CELIMAR                                                                     6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    52143             Undetermined*
     #92 URB PASEO TORRE ALTA
     BARRANQUITAS, PR 00794

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
50   SOTO PAGAN, RAFAEL                                                                      6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74489             Undetermined*
     22 ENTRADA ARENAS
     JAYUYA, PR 00664

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
51   SOTO PEREZ, CARMEN MARIA                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    154353            Undetermined*
     P.O. BOX 1308
     JAYUYA, PR 00664-2308

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
52   SOTO PEREZ, EPIFANIO                                                                     7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    157495            Undetermined*
     CARR. 444 KM. 7 4 INT.
     MOCA, PR 00676

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 8 of 136
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                                                                    Ninety-Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
53   SOTO PONCE DE LEON, OLGA Y                                                              6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    41199             Undetermined*
     4302 CALLE 58 MARGINAL
     JDN DEL CARIBE
     PONCE, PR 00728-1165

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
54   SOTO PONCE DE LEON, OLGA Y.                                                             6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    44514             Undetermined*
     4302 CALLE 58
     MARGINAL JDN DEL CARIBE
     PONCE, PR 00728-1165

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
55   SOTO REVILLA, DAHRMA R                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74911             Undetermined*
     CONDOMINIO PONTEZUELA EDIF. B5
     APTO 1A
     CAROLINA, PR 00983-2082

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
56   SOTO REVILLA, DAHRMA R                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             78285             Undetermined*
     CONDOMINIO PONTEZUELA EDIF. B5, APTO. 1-A                                                                              Government of the Commonwealth
     CAROLINA, PR 00983-2082                                                                                                of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
57   SOTO REY, ANA LUZ                                                                       6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    111777                $ 13,800.00
     88 ANDALUCIA
     SULTANA
     MAYAGUEZ, PR 00680

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
58   SOTO REY, ANA LUZ                                                                        7/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    153935                 $ 4,800.00
     88 ANDALUCIA
     SULTANA
     MAYAGUEZ, PR 00680

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 9 of 136
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                                                                    Ninety-Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
59   SOTO RIVERA, JOHANNA                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77950                $ 20,000.00*
     PO BOX142644
     ARECIBO, PR 00614

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
60   SOTO RODRIGUEZ, DIANA E                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66335                  $ 1,000.00
     URBANIZACION CIUDAD
     UNIVERSITARIA CALLE 24 S-21
     TRUJILLO ALTO, PR 00976

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
61   SOTO RODRIGUEZ, EDNA DENISSE                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70685             Undetermined*
     HC-03 BOX 15465
     YAUCO, PR 00698

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
62   SOTO RODRIGUEZ, JACQUELINE                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    134357            Undetermined*
     BARRIADA MONSERRATE
     CALLE I #12
     SANTA ISABEL, PR 00757

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
63   SOTO RODRIGUEZ, NILSA                                                                   6/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    59380             Undetermined*
     RIO CANAS ARRIBA HC 01
     BOX 31315
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
64   SOTO SANCHEZ, EMMA M.                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    146996            Undetermined*
     P.O. BOX 30,000
     PMB 214
     CANOVANAS, PR 00729

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 10 of 136
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                                                                    Ninety-Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
65   SOTO SANTIAGO, EFRAIN                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    63484             Undetermined*
     URB SANTA MARIA
     N17 HACIENDA LA CATALINA
     GUAYANILLA, PR 00656

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
66   SOTO SERRANO, CAMILIE                                                                   6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    95804             Undetermined*
     231 QUQUE DECCES
     URB ESTANCIES DEL GOLF
     PONCE, PR 00730

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
67   SOTO SERRANO, NORMA DEL C.                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72797             Undetermined*
     HC-5 BOX 52696
     SAN SEBASTIAN, PR 00685

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
68   SOTO TORRES, ANDRES                                                                     6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    48785                  $ 5,000.00
     URB. JARDINES DE SANTA ISABEL B-7 CALLE 8
     SANTA ISABEL, PR 00757

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
69   SOTO TORRES, LIZBETH                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71733             Undetermined*
     URB. JARDÍN DEL ESTE CALLE MCADAMIA #102
     NAGUABO, PR 00771

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
70   SOTO TORRES, MYRNA Y.                                                                   6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74077             Undetermined*
     CALLE TORRES NADAL #978
     URB. VILLAS DE RIO CANAS
     PONCE, PR 00728-1937

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 11 of 136
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                                                                    Ninety-Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
71   SOTO VÁZQUEZ, LEONARDO                                                                  6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    37580             Undetermined*
     CALLE ALMENDRO #622
     URB. LOS COLOBOS PARK
     CAROLINA, PR 00987

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
72   SOTO VELAZQUEZ, LESLY ANN                                                               6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57152             Undetermined*
     URABNIZACION PORTAL DEL SOL116
     CALLE AMANECER
     SAN LORENZO, PR 00754

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
73   SOTO VELAZQUEZ, LISSETTE                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79434                 $ 10,000.00
     HC 2 BOX 122390
     MOCA, PR 00676

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
74   SOTO, DELIA CABAN                                                                       6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83922             Undetermined*
     CALLE DELFIN 320
     ISABELA, PR 00662

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
75   SOTO, MARISEL NAZARIO                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    134345            Undetermined*
     PO BOX 125
     COAMO, PR 00769

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
76   SOTOMAYOR AROCHO, DORIS E                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    63496             Undetermined*
     PO BOX 152
     MOCA, PR 00676-0152

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
77   SOTOMAYOR LOPEZ, MERCEDES                                                               6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56639                 $ 11,400.00
     P.O. BOX 5127
     SAN SEBASTIAN, PR 00685

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 12 of 136
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                                                                    Ninety-Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
78   SOTOMAYOR LOPEZ, MERCEDES                                                               6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55570                  $ 4,200.00
     PO BOX 5127
     SAN SEBASTIAN, PR 00685

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
79   SOTOMAYOR NEGRON, CARMEN I.                                                             6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58220             Undetermined*
     5 CALLE LOS LIRIOS URB. RUSSE
     MOROVIS, PR 00687

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
80   SOTOMAYOR NEGRON, CARMEN I.                                                             6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    59092             Undetermined*
     5 CALLE LOS LIRIOS URB. RUSSE
     MOROVIS, PR 00687

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
81   SOTOMAYOR NEGRON, CARMEN I.                                                             6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57296             Undetermined*
     5 CALLE LOS LIRIOS
     URB. RUSSE
     MOROVIS, PR 00687

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
82   SOTOMAYOR NEGRON, CARMEN I.                                                             6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57219             Undetermined*
     5 CALLE LOS LIRIOS URB. RUSSE
     MOROVIS, PR 00687

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
83   SOTOMAYOR NEGRON, CARMEN I.                                                             6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56722             Undetermined*
     5 CALLE LOS LIRIOS URB. RUSSE
     MOROVIS, PR 00687

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
84   SUAREZ CARRION, JUAN M                                                                  6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57213             Undetermined*
     PARQUE DE LAS MODELOS E-1
     ALTURAS DE VILLA FONTANA
     CAROLINA, PR 00983

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 13 of 136
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                                                                    Ninety-Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
85   SUAREZ ROSADO , MARIA M.                                                                6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75898             Undetermined*
     PO BOX 1470
     SANTA ISABEL, PR 00757

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
86   SUAREZ ROSADO, MARIA M                                                                  6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76171             Undetermined*
     PO BOX 1470
     SANTA ISABEL, PR 00757

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
87   SUAREZ SANTANA , HECTOR L.                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    95948             Undetermined*
     URB. VILLAS DEL CAFETAL
     E 19 CALLE 5
     YAUCO, PR 00698

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
88   SUAREZ SUAREZ, LUIS S.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    85766                 $ 25,000.00
     RESIDENCIAL MANUEL EGIPCIACO
     EDIF. 12 APARTADO71
     AGUADA, PR 00602

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
89   SUAREZ, NICOLASA CORA                                                                    7/3/2019      17 BK 03283-LTS Commonwealth of Puerto Rico                    169534            Undetermined*
     URB. COSTA AZUL CALLE14 HH23
     GUAYAMA, PR 00784

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
90   SUCESION DE ANGEL MANUEL RODRIGUEZ GONZALEZ                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    91981             Undetermined*
     JELITZA ROSA MATOS
     PORTAL DEL VALLE#16
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
91   SURILLO, YARIBEL ORTIZ                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57468             Undetermined*
     HC 2 BOX 11537
     HUMACAO, PR 00791

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 14 of 136
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                                                                    Ninety-Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
92   SURILLO, YARIBEL ORTIZ                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61915             Undetermined*
     HC 2 BOX 11537
     HUMACAO, PR 00791

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
93   SYLVETTE FONTANET PINERO                                                                6/28/2018      17 BK 03566-LTS Employees Retirement System of the             46372             Undetermined*
     HC 3 BOX 18316                                                                                                         Government of the Commonwealth
     RIO GRANDE, PR 00745                                                                                                   of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
94   TAPIA FEBRES, ESPERANZA                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    90923                 $ 1,049.00*
     JARDINES DE CAROLINA
     G 3 CALLE I
     CAROLINA, PR 00987

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
95   TAPIA LOPEZ, MERIDA                                                                     6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    53355             Undetermined*
     URB VILLA COROLINA
     CALLE 58
     BLOQUE 71 #22
     CAROLINA, PR 00985

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
96   TAPIA LOPEZ, MERIDA                                                                     6/27/2018      17 BK 03566-LTS Employees Retirement System of the             58632             Undetermined*
     URB. VILLA CAROLINA CALLE 58 BLOQUE 71 # 22                                                                            Government of the Commonwealth
     CAROLINA, PR 00985                                                                                                     of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
97   TARAFA BOSA, IVETTE                                                                     6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    97107             Undetermined*
     URB. PENUELAS VALLEY
     #42
     PENUELAS, PR 00624

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 15 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
98    TARAFA BOSA, IVETTE                                                                     6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    109317            Undetermined*
      URB. PENUELAS VALLEY # 42
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
99    TARATA BOSA, ZORAIDA                                                                    6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    100186            Undetermined*
      URB. PENEUELAS VALLEY #42
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
100   TARDY MONTALVO, ANGEL L                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62857                $ 75,000.00*
      URB VALLE ARRIBA
      CALLE SAUCE # 226
      COAMO, PR 00769

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
101   TEITELBAUM MARTINEZ, REBECCA                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69223             Undetermined*
      P.O. BOX 584
      YABUCOA, PR 00767-0584

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
102   TERON MENDEZ, ENID                                                                      6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79881             Undetermined*
      HC 11 BOX 48538
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
103   TERRON ACEVEDO, MARIA DEL CARMEN                                                        6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71959             Undetermined*
      12 LONGVIEW DRIVE
      FLORENCE, MA 01062

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
104   TEXIDO GOMEZ, LUCAS                                                                     6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    145799            Undetermined*
      CALLE TAMARINDO #21 BOX 328
      GUAYAMA, PR 00785

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 16 of 136
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                                                                     Ninety-Second Omnibus Objection
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                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
105   TEXIDOR CAMPOS, EDA V.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    165498            Undetermined*
      VILLA CAMARERO 25633
      CALLE TORNADO
      SANTA ISABEL, PR 00757

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
106   TEXIDOR GOMEZ, BIENVENIDA                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    143590            Undetermined*
      URB. HC HACIENDA CALLE AJ9
      GUAYAMA, PR 00784

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
107   TEXIDOR RUIZ, RAISA                                                                     6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51341                  $ 5,400.00
      PO BOX 61
      DORADO, PR 00646-0061

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
108   THANIS M MEDERO CORREA                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67415             Undetermined*
      HC- 4 BOX 14303
      RIO GRANDE, PR 00745

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
109   TIDWELL LLABRES, CHERYL L                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65767             Undetermined*
      PO BOX 1824
      CEIBA, PR 00735

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
110   TIRADO COLON, MARIA D                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    101589            Undetermined*
      BO TABLONAL BZN 1754
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
111   TIRADO COLON, MARIA D.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72860             Undetermined*
      BARRIO TABLONAL
      BUZON 1754
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 17 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
112   TIRADO COLON, MARIA D.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    84966             Undetermined*
      BARRIO TABLONAL BUZON 1754
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
113   TIRADO COLÓN, MARIA D.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    93560             Undetermined*
      BO TABLONAL BZN 1754
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
114   TIRADO GARCIA, ALEXIS                                                                   2/20/2019      17 BK 03283-LTS Commonwealth of Puerto Rico                    168156            Undetermined*
      PO BOX 976
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
115   TIRADO GARCIA, ALEXIS                                                                   2/21/2019      17 BK 03283-LTS Commonwealth of Puerto Rico                    168171            Undetermined*
      PO BOX 976
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
116   TIRADO GOMEZ , WANDA R                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71002                  $ 7,800.00
      HC-02 BUZON 17818
      RIO GRANDE, PR 00745-0000

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
117   TIRADO GOMEZ, MARTA I                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    85221                 $ 21,600.00
      N-52 CALLE 20
      URB. RIO GRANDE ESTATES
      RIO GRANDE, PR 00745

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
118   TIRADO GOMEZ, MARTA I                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    86671                  $ 8,400.00
      N-52 CALLE 20
      URB. RIO GRANDE ESTATES
      RIO GRANDE, PR 00745

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 18 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
119   TIRADO GÓMEZ, WANDA R.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77302                 $ 21,600.00
      HC-02 BUZON 17818
      RIO GRANDE, PR 00745

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
120   TIRADO OLIVERAS, CARLOS A.                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71439                $ 10,000.00*
      BO. PALOMAS
      CALLE A8
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
121   TIRADO ORTIZ, ANA EVA                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the             100685            Undetermined*
      PO BOX 694                                                                                                             Government of the Commonwealth
      CANOVANAS, PR 00729                                                                                                    of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
122   TIRADO VELAQUEZ, LUZ E.                                                                 6/27/2018      17 BK 03566-LTS Employees Retirement System of the             61450             Undetermined*
      URBANIZACION COLINAS DE FAIR VIEW 4G31                                                                                 Government of the Commonwealth
      CALLE 204                                                                                                              of Puerto Rico
      TRUJILLO ALTO, PR 00976-8220

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
123   TIRADO VELAZQUEZ, ANAIDA                                                                6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51015             Undetermined*
      HC-06 176071
      BO. SALTOS
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
124   TIRADO VELAZQUEZ, LUZ E.                                                                6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    53630             Undetermined*
      URBANIZACION COLINAS DE FAIR VIEW
      4G31, CALLE 204
      TRUJILLO ALTO, PR 00976-8220

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 19 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
125   TITTLEY MELENDEZ, JOSEFINA                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78538             Undetermined*
      PO BOX 1014
      CATANO, PR 00963

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
126   TOLEDO COLÓN, DENICE E.                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    45447             Undetermined*
      URB. INTERAMERICANA CALLE 31 AF-21
      TRUJILLO ALTO, PR 00976

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
127   TOLEDO COLÓN, DENICE E.                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    59036             Undetermined*
      URB. INTERAMERICANA
      CALLE 31 AF-21
      TRUJILLO ALTO, PR 00976

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
128   TOLEDO LIZASUAIN, WANDA IVETTE                                                          6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83137             Undetermined*
      URB. CAROLINA ALTA
      K5 CALLE VICTORIANO VILLEGAS
      CAROLINA, PR 00987

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
129   TOLEDO PADUA, JANETTE                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    147819            Undetermined*
      PO BOX 311
      ANGELES, PR 00611

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
130   TOLEDO RODRIGUEZ, RUTH E                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    40221                $ 15,000.00*
      9 VILLAS DE LA ESPERANZA
      JUANA DIAZ, PR 00795-9622

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
131   TOLEDO SOTO, CARMEN E                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    86373             Undetermined*
      CALLE A ESTE # C-1
      CIUDAD UNIVERSITARIA
      TRUJILLO ALTO, PR 00976

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 20 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
132   TOLENTINO FEBO, ARLENE R                                                                 7/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    153958                $ 16,800.00
      URB. LOÍZA VALLEY
      Y-947 CALLE UCAR
      CANOVANAS, PR 00745

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
133   TORO AGRAIT, TANIA M.                                                                   6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    36481                 $ 9,600.00*
      CALLE SILVIA REXACH
      URB. BORINQUEN I-38
      CABO ROJO, PR 00623-3355

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
134   TORO CEDENO, RAMON ANTONIO                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    91049             Undetermined*
      URB. SANTA TERESITA 6332 CALLE SAN ALONSO
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
135   TORO GARCIA, ROSA L.                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    85362             Undetermined*
      6082 CATALPA AVE.
      RIDGEWOOD, NY 11385

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
136   TORO GAUD, MERCEDES V                                                                    7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    156332                 $ 9,000.00
      CANETERA 108 BUZON 1102 K.M. 2.5
      MAYGUEZ, PR 00682

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
137   TORO MUNIZ , BETSEY                                                                     6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    92255             Undetermined*
      1507 URB LA ARBORADA
      CABO ROJO, PR 00623

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
138   TORO NAZARIO, SONIA M.                                                                  6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    40305             Undetermined*
      MIOSOTI 209
      URB COLINAS DE PENUELAS
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 21 of 136
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                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
139   TORO PEREZ, CARMEN E                                                                    6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    40149                      $ 9.60*
      110 CALLE ALAMO URBANIZACIÓN EL VALLE
      LAJAS, PR 00667

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
140   TORO RODRIGUEZ, ERNESTO                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65773                 $ 14,400.00
      URB. LEVITTOWN LAKES
      CALLE MAGALI AJ5
      TOA BAJA, PR 00949

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
141   TORO RODRIGUEZ, RADAMES                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49515                 $ 75,000.00
      207 CASTILLA URB SULTANA
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
142   TORRE, NATIVIDAD E.                                                                     6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    52512             Undetermined*
      B #184 FLAMINGO HILLS
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
143   TORRECH PRIETO, CARLOS A.                                                                7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78009             Undetermined*
      COND. BOSQUE REAL APT. 920
      SAN JUAN, PR 00926

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
144   TORRELLA FLORES, LIANA O.                                                               6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72519             Undetermined*
      #3121 CAIMITO ST.
      LOS CAOBOS
      PONCE, PR 00716

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
145   TORRES ALBALADEJO, JULIO V                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    88940             Undetermined*
      PO BOX 1322
      MOROVIS, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 22 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
146   TORRES ALMODOVAR, CARLOS A                                                               7/3/2018      17 BK 03566-LTS Employees Retirement System of the             98748             Undetermined*
      HC04 BOX 23402                                                                                                         Government of the Commonwealth
      LAJAS, PR 00667                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
147   TORRES ALMODOVAR, WILNELIA                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    86983             Undetermined*
      1461 MONA DR
      KISSIMMEE, FL 34744

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
148   TORRES ALUIRA, CARLOS A.                                                                 7/2/2019      17 BK 03283-LTS Commonwealth of Puerto Rico                    169567            Undetermined*
      CALLE H MANINA #859
      BOX 313
      AGUIRRE, PR 00704

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
149   TORRES ALVARADO, SANDRA L.                                                              6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    44412             Undetermined*
      HC 01 BOX 5830
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
150   TORRES ALVARDO, NYDIA L.                                                                6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55002             Undetermined*
      HC - 01 BOX 5830
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
151   TORRES ALVAREZ, ASUNCION                                                                6/23/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    38531             Undetermined*
      HC 09 BOX 1740
      PONCE, PR 00731-9745

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
152   TORRES ARCHEVAL, JUAN E.                                                                6/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    50930             Undetermined*
      BDA. GANDARA BLOG 10 APT 165
      PONCE, PR 00731

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 23 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
153   TORRES ARROYO, WILLIAM                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73311             Undetermined*
      HC 01 BOX 5272
      BARRANQUITAS, PR 00794

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
154   TORRES BAUZA, ESMERALDA                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56316             Undetermined*
      PO BOX 142907
      ARECIBO, PR 00614

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
155   TORRES BERRIOS, YOLANDA                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56568             Undetermined*
      PO BOX 156
      AIBONITO, PR 00705

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
156   TORRES BORRERO, ROBERTO                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68077             Undetermined*
      LOS COLOBOS PARK 118 CALLE ALMENDRO
      CAROLINA, PR 00987

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
157   TORRES BORRERO, ROBERTO                                                                 6/28/2018      17 BK 03566-LTS Employees Retirement System of the             67493             Undetermined*
      LOS COLOBOS PARK                                                                                                       Government of the Commonwealth
      118 CALLE ALMENDRO                                                                                                     of Puerto Rico
      CAROLINA, PR 00987

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
158   TORRES BORRERO, RUTH E.                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    164712            Undetermined*
      H22 MIREYA OESTE
      LEVITTOWN, PR 00949

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
159   TORRES BURGOS, MARA                                                                     6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83287             Undetermined*
      HC-06 BOX 6892
      GUAYNABO, PR 00971

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 24 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
160   TORRES BURGOS, OLGA I.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    44169             Undetermined*
      8 SALIDA A COAMO
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
161   TORRES CABRERA, EDUARDO                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    45005             Undetermined*
      HC 01 BOX 2395-2
      MOROVIS, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
162   TORRES CABRERA, MERCEDES                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    47641             Undetermined*
      PO BOX 2253
      MANATI, PR 00674

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
163   TORRES CABRERA, MERCEDES                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69440             Undetermined*
      PO BOX 2253
      MANATI, PR 00674

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
164   TORRES CABRERA, MERCEDES                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68957             Undetermined*
      PO BOX 2253
      MANATI, PR 00674

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
165   TORRES CABRERA, MERCEDES                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    60805             Undetermined*
      PO BOX 2253
      MANATI, PR 00674

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
166   TORRES CALVO, RENIER ORLANDO                                                            6/29/2018      17 BK 03566-LTS Employees Retirement System of the             85945             Undetermined*
      ESTANCIAS DEL TURABO 9-A                                                                                               Government of the Commonwealth
      CAGUAS, PR 00725                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 25 of 136
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                                                                     Ninety-Second Omnibus Objection
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                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
167   TORRES CAMPUSANO, ESPERANZA                                                              7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    92621             Undetermined*
      URB. MIRADERO HILLS
      109 SIERRA MORENA
      MAYAGUEZ, PR 00682

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
168   TORRES CAQUIAS , CARMEN DEL R.                                                          6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76114             Undetermined*
      URB. HILL VIEW
      409 RIVER STREET
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
169   TORRES CAQUIAS, CARMEN DEL R.                                                           6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    54685             Undetermined*
      URB. HILL VIEW 409 RIVER STREES
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
170   TORRES CARABALLO, NELLY                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    129685            Undetermined*
      URB ALT DE PENUELAS II U-5 C-7
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
171   TORRES CARABALLO, NELLY                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    135237            Undetermined*
      URB. ALT DE PENUELAS U-5 C-7 II
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
172   TORRES CARABALLO, NELLY                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    157044            Undetermined*
      URB ALTURAS DE PENUELAS II
      U-5 CALLE 7
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 26 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
173   TORRES CARABALLO, NOEMI                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    163352            Undetermined*
      URB. ALTS DE PENUELAS
      2 CALLE 7 U-8
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
174   TORRES CARABALLO, NOEMI                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    163353            Undetermined*
      URB. ALTURAS DE PENUELAS
      2 CALLE 7 U-8
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
175   TORRES CARABALLO, NOEMI                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    163373            Undetermined*
      URB. ALTS DE PENUELAS
      2 CALLE 7 U-8
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
176   TORRES CARABALLO, NOEMI                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    163432            Undetermined*
      URB. ALTURAS DE PENUELAS 2 CALLE 7 U-8
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
177   TORRES CARABALLO, YADIRA                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75775             Undetermined*
      ALTURAS DEL CAFETAL
      CALLE CAMELIA B18
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
178   TORRES CARABALLO, YADIRA                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    84853             Undetermined*
      ALTURAS DE YAUCO
      CALLE CAMELIA B18
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 27 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
179   TORRES CARMONA, ROGELIO                                                                 6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77046             Undetermined*
      VISTA ALEGRE 1914 CALLE FORTONA
      PONCE, PR 00717-2301

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
180   TORRES CARTAGENA, MARIA D.                                                              6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56787             Undetermined*
      CONDOMINIO COOPERATIVA JARDINES DE VALENCIA
      APT. 307
      SAN JUAN, PR 00923

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
181   TORRES CARTAGENA, MARÍA D.                                                              6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    54494             Undetermined*
      CONDOMINIO COOPERATIVA JARDINES DE VALENCIA
      APT. 307
      SAN JUAN, PR 00923

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
182   TORRES CASUL, EDWIN                                                                     6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    89908             Undetermined*
      HC-60 BOX 40501
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
183   TORRES CASUL, EDWIN                                                                     6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    91469             Undetermined*
      HC-60 BOX 40501
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
184   TORRES CAUL, EDWIN                                                                      6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    60155             Undetermined*
      HC-60 BOX 40501
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
185   TORRES CINTRON, JORGE                                                                   6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56323             Undetermined*
      URB LAUREL SUR
      1410 CALLE BIENTEVEO
      COTO LAUREL, PR 00780-5005

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 28 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
186   TORRES CINTRON, JORGE                                                                   6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56753             Undetermined*
      URB LAUREL SUR
      1410 CALLE BIENTEVEO
      COTO LAUREL, PR 00780-5005

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
187   TORRES CLASS, SOL LOURDES                                                               6/18/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    50528             Undetermined*
      CALLE 4 #42
      HC 2 BOX 6273
      GUAYANILLA, PR 00656-9708

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
188   TORRES COLL , CARMEN                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71046             Undetermined*
      URB EXTENSION TANAMA
      184 CALLE EL MOLINO
      ARECIBO, PR 00612-5335

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
189   TORRES COLL, CARMEN                                                                     6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70447             Undetermined*
      URB EXT TANAMA
      184 CALLE EL MOLINO
      ARECIBO, PR 00612-5335

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
190   TORRES- COLL, CARMEN                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the             69081             Undetermined*
      URB EXTENSION TANAMA                                                                                                   Government of the Commonwealth
      184 CALLE EL MOLINO                                                                                                    of Puerto Rico
      ARECIBO, PR 00612-5335

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
191   TORRES COLLAZO, CARMEN I.                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74183             Undetermined*
      106 CALLE BARCELO
      BARRANQUITAS, PR 00794-1614

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 29 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
192   TORRES COLLAZO, MARIA A                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71746             Undetermined*
      HERA #3
      MONTE OLIVO
      GUAYAMA, PR 00784

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
193   TORRES COLLAZO,, MARIA A                                                                6/28/2018      17 BK 03566-LTS Employees Retirement System of the             71390             Undetermined*
      HERA #3                                                                                                                Government of the Commonwealth
      MONTE OLIVO                                                                                                            of Puerto Rico
      GUAYAMA, PR 00784

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
194   TORRES COLON, CARMEN M.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    93345             Undetermined*
      PO BOX 286
      VILLALBA, PR 00766

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
195   TORRES COLON, GLADYS I.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75703             Undetermined*
      PO BOX 652
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
196   TORRES COLON, MARIA INES                                                                6/29/2018      17 BK 03566-LTS Employees Retirement System of the             73398             Undetermined*
      HC 2 BOX 8246                                                                                                          Government of the Commonwealth
      BARRANQUITAS, PR 00794                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
197   TORRES COLON, MARIA INES                                                                6/29/2018      17 BK 03566-LTS Employees Retirement System of the             77792             Undetermined*
      HC 2 BOX 8246                                                                                                          Government of the Commonwealth
      BARRANQUITAS, PR 00794                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 30 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
198   TORRES COLON, NORMA IRIS                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    139132            Undetermined*
      URB. SAN MARTIN II CALLE 5 E-4
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
199   TORRES COLON, NYDIA                                                                     6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57125             Undetermined*
      PO BOX 26
      MERCEDITA, PR 00715

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
200   TORRES COLONDRES, VIVIAN SUSSETTE                                                       6/30/2018      17 BK 03566-LTS Employees Retirement System of the             101716            Undetermined*
      #2625 CALLE NILO URB. RIO CANAS                                                                                        Government of the Commonwealth
      PONCE, PR 00728-1720                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
201   TORRES CORA, JUANITA                                                                     7/6/2018      17 BK 03566-LTS Employees Retirement System of the             157971            Undetermined*
      P.O BOX 86                                                                                                             Government of the Commonwealth
      PATILLAS, PR 00723                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
202   TORRES CRUZ, CARMEN                                                                     6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    63720             Undetermined*
      112 VITORIA RD
      DAVENPORT, FL33837

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
203   TORRES CRUZ, EDWIN                                                                      6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    85540             Undetermined*
      PO BOX 491
      PATILLAS, PR 00723

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
204   TORRES CRUZ, ELISA                                                                      6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    42399             Undetermined*
      HC 02 BOX 4969
      VILLALBA, PR 00766-9718

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 31 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
205   TORRES CRUZ, MIGDALIA                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68743             Undetermined*
      CALLE CAOBA 348, URB LOS SAUSES
      HUMACAO, PR 00791

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
206   TORRES CRUZ, MIGDALIA                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    100601            Undetermined*
      CALLE CAOBA 348
      URB. LOS SAUSES
      HUMACAO, PR 00791

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
207   TORRES CRUZ, MIGDALIA                                                                   6/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    108478            Undetermined*
      CALLE CAOBA 348, URB LOS SAUSES
      HUMACAO, PR 00791

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
208   TORRES CRUZ, RADAMES                                                                    6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    52605             Undetermined*
      HC 2 BOX 4969
      VILLALBA, PR 00766-9718

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
209   TORRES CRUZ, ROSA N                                                                     6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    50652             Undetermined*
      HC-02- BOX 4969
      BO ROMERO
      VILLALBA, PR 00766

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
210   TORRES CUEVAS, ANNIE                                                                    6/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73778             Undetermined*
      HC 05 BOX 93301
      ARECIBO, PR 00612

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
211   TORRES DE JESUS, RICHARD                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    44900                 $ 21,600.00
      #264 CALLE PESANTE
      SANTURCE, PR 00912

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 32 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
212   TORRES DE JESUS, RICHARD                                                                6/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    101634                $ 10,200.00
      #264 CALLE PESANTE
      SANTURCE, PR 00912

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
213   TORRES DE LEON, NAYDA                                                                   6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58255                 $ 21,600.00
      PO BOX 3928
      MAYAGUEZ, PR 00681

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
214   TORRES DE ORTIZ, ELSIE                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72335                 $ 24,000.00
      CALLE 8 L-3 TURABO GARDENS
      CAGUAS, PR 00727

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
215   TORRES DEJESUS, MYRTA A.                                                                6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51226             Undetermined*
      URB. LAS FLORES CALLE 4-I-4
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
216   TORRES DIAZ, NANCY E.                                                                   6/25/2018      17 BK 03566-LTS Employees Retirement System of the             51692             Undetermined*
      50 ROCIO PASEO DE LAS BRUMAS                                                                                           Government of the Commonwealth
      CAYEY, PR00736                                                                                                         of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
217   TORRES ECHEVARRIA , EDWIN                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71381             Undetermined*
      BDA. CLAUSELLS CALLE SOLEDAD # 3
      PONCE, PR 00731

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
218   TORRES ECHEVARRIA, EDWIN                                                                6/28/2018      17 BK 03566-LTS Employees Retirement System of the             69147             Undetermined*
      BDA. CLAUSELLS CALLE SOLEDAD # 3                                                                                       Government of the Commonwealth
      PONCE, PR 00731                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 33 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
219   TORRES ESTRADA, MARIELY                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74407             Undetermined*
      URB. VALLE DE ANDALUCIA
      #3045 CALLE MALAGA
      PONCE, PR 00728-3113

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
220   TORRES FELICIANO, GLORIA M                                                              6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    41175             Undetermined*
      URB SANTA ELENA
      CALLE AUSUBO F12
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
221   TORRES FELICIANO, JOSÉ MANUEL                                                           6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51023             Undetermined*
      HC 02 BUZÓN 4863
      PEÑUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
222   TORRES FELICIANO, MILTON                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61383             Undetermined*
      PO BOX 560688
      GUAYANILLA, PR 00656-3688

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
223   TORRES FIGUEROA, BRENDA                                                                 6/28/2018      17 BK 03566-LTS Employees Retirement System of the             166229            Undetermined*
      HC-01 BOX 4437                                                                                                         Government of the Commonwealth
      JUANA DIAZ, PR 00795                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
224   TORRES GARCIA, ARLENE IRAIDA                                                            6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    54791             Undetermined*
      URB. LIANOS DE GURABO
      GERANIO 1709
      GURABO, PR 00778

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 34 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
225   TORRES GARCIA, VIRGENMINA                                                               6/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    53512             Undetermined*
      214 BO. CHINO
      VILLALBA, PR 00766

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
226   TORRES GIRON, NYDIA L                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67827             Undetermined*
      ESTANCIAS DEL GOLF
      544 CALLE WITO MORALES
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
227   TORRES GOMEZ, DAISY I.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    95318                 $ 56,000.00
      P.O. BOX 95
      FAJARDO, PR 00738

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
228   TORRES GONZALEZ, JORGE L                                                                6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58262             Undetermined*
      RR 01 13330
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
229   TORRES GONZALEZ, JORGE L.                                                               7/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    92852             Undetermined*
      RR1 BOX 13330
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
230   TORRES GONZALEZ, JORGE L.                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    90172             Undetermined*
      RR 1 BOX 13330
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
231   TORRES GONZALEZ, LIZETTE N                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58227             Undetermined*
      HC 01 BOX 7550
      VILLALBA, PR 00766

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 35 of 136
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                                                                     Ninety-Second Omnibus Objection
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                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
232   TORRES GONZALEZ, LIZETTE N.                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    59473             Undetermined*
      HC 01 BOX 7550
      VILLALBA, PR 00766

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
233   TORRES GONZÁLEZ, LIZETTE N.                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58305             Undetermined*
      HC 01 BOX 7550
      VILLALBA, PR 00766

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
234   TORRES GONZALEZ, MARIA V                                                                6/29/2018      17 BK 03566-LTS Employees Retirement System of the             91393             Undetermined*
      Y-3 EXT. ALTURAS DE YAUCO CALLE VEGAS                                                                                  Government of the Commonwealth
      YAUCO, PR 00698                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
235   TORRES GONZALEZ, MAYRA I                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62440             Undetermined*
      URB. VILLAS DEL CAFETAL CALLE 10 M 36
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
236   TORRES GONZALEZ, RAFAEL                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78297             Undetermined*
      PO BOX 166
      LAS PIEDRAS, PR 00771

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
237   TORRES GRAU, LUZ Í TORRES GRAU I                                                        6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71940             Undetermined*
      CALLE PERÚ FF-33 VILLA CONTESSA
      BAYAMON, PR 00956

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 36 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
238   TORRES GUARDIOLA, BLANCA ROSA                                                           6/28/2018      17 BK 03566-LTS Employees Retirement System of the             63681             Undetermined*
      ALTURAS DE VEGA BAJA                                                                                                   Government of the Commonwealth
      S6 CALLE Q                                                                                                             of Puerto Rico
      VEGA BAJA, PR 00693-5624

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
239   TORRES GUZMAN, MARIA                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72089             Undetermined*
      TORRES DE ANDALUCIA
      TORRE 1 APARTAMENTO202
      SAN JUAN, PR 00926

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
240   TORRES HERNÁNDEZ , MARIANETTE                                                           6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62039             Undetermined*
      168 CALLE CEDRO URB. LOS ROBLES
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
241   TORRES HERNANDEZ, LUIS H                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61800             Undetermined*
      HC 5 BOX 13760
      JUANA DIAZ, PR 00795-9518

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
242   TORRES HERNANDEZ, MANUEL                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    94524             Undetermined*
      HC-73 BOX 4953
      BO BARRIO NUEVO
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
243   TORRES HERNÁNDEZ, MANUEL                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62729             Undetermined*
      HC 73 BOX 4953
      BARRIO NUEVO
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 37 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
244   TORRES HERNANDEZ, MARIANETTE                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62773             Undetermined*
      168 CALLE CEDRO
      URB. LOS ROBLES
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
245   TORRES LABOY, MARIA E                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the             85243             Undetermined*
      HC 03 BOX 12506                                                                                                        Government of the Commonwealth
      YABUCOA, PR 00767-9776                                                                                                 of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
246   TORRES LINARES , NERMARIE                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62952             Undetermined*
      CARR. 141 KM 12.5 INTERIOR
      HC 02 BOX # 6429
      JAYUYA, PR 00664

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
247   TORRES LUGO, LYDIA E                                                                    6/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    50865             Undetermined*
      #68 CALLE: SANTO DOMINGO
      APARTODO 1509
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
248   TORRES LUGO, LYDIA E.                                                                   6/28/2018      17 BK 03566-LTS Employees Retirement System of the             166650            Undetermined*
      PO BOX 1509                                                                                                            Government of the Commonwealth
      YAUCO, PR 00698                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
249   TORRES MALDONADO, MARIA N.                                                              6/22/2018      17 BK 03566-LTS Employees Retirement System of the             77359             Undetermined*
      3015 AVE. EDUARDO RUBERTE                                                                                              Government of the Commonwealth
      PONCE, PR 00728-1807                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 38 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
250   TORRES MARRERO, MINERVA                                                                  7/6/2018      17 BK 03566-LTS Employees Retirement System of the             77140             Undetermined*
      HC 83 BUZON 6333                                                                                                       Government of the Commonwealth
      VEGA ALTA, PR00692                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
251   TORRES MARTINEZ, EDWIN                                                                  6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51123             Undetermined*
      URB. VILLAS DEL CAFETAL II
      CALLE VILLALOBOS P 11
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
252   TORRES MATEO, LIDUVINA                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    164154            Undetermined*
      URB. FLAMBOYAN F-19
      SANTA ISABEL, PR 00757

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
253   TORRES MATEO, MIGDALIA                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the             63363             Undetermined*
      PO BOX 2315                                                                                                            Government of the Commonwealth
      SALINAS, PR 00751                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
254   TORRES MATIAS, ZORAIDA                                                                  6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    39828             Undetermined*
      JARD DEL CARIBE
      2B2 CALLE 54
      PONCE, PR 00728-2658

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
255   TORRES MATIAS, ZORAIDA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58687             Undetermined*
      JARD DEL CARIBE
      2B2 CALLE 54
      PONCE, PR 00728-2658

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 39 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
256   TORRES MATIAS, ZORAIDA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65892             Undetermined*
      JARD DEL CARIBE
      2B2 CALLE 54
      PONCE, PR 00728-2658

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
257   TORRES MEDINA, EUGENIA                                                                  6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77863             Undetermined*
      1007 LUIS T. NADAL
      VILLAS DE RIO CANAS
      PONCE, PR 00728-1941

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
258   TORRES MELENDEZ, MARIELY                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    59971             Undetermined*
      CARRETERA 143 KM. 46.0
      HC 01 BOX 5834
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
259   TORRES MELENDEZ, TANIA                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61097             Undetermined*
      H C 01 BOX 5834
      BARRIO BERMEJALES, CARRETERA 143 KM. 46.0
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
260   TORRES MERCADO, CARMEN M.                                                               6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    54951                  $ 1,300.00
      COND PARQUE TERRALINDA BUZÓN 208
      TRUJILLO ALTO, PR 00876

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
261   TORRES MOLINA, JHORDAN                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58907                 $ 21,600.00
      CALLE 11 5L24 URB. MONTE BRISAS V
      FAJARDO, PR 00738

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 40 of 136
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                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
262   TORRES MONTERO, DAHIANA                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77290             Undetermined*
      BOX 560677
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
263   TORRES MORALES, LUIS E.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75962             Undetermined*
      106 CALLE BARCELO
      BARRANQUITAS, PR 00794-1614

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
264   TORRES MORALES, MARIA C.                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    91564             Undetermined*
      P.O. BOX 607
      GUAYNABO, PR 00970

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
265   TORRES MULER, ELISA                                                                     6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74405             Undetermined*
      CALLES ELIZONDO 592 URB. OPEN LAND
      SAN JUAN, PR 00923

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
266   TORRES MUÑOZ, MARÍA SOCORRO                                                             6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56121             Undetermined*
      HC 02 BOX 31320
      CAGUAS, PR 00727

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
267   TORRES NEGRON, LUIS A                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    87028             Undetermined*
      APARTADO524
      AIBONITO, PR 00705

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
268   TORRES NEGRON, URIEL                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the             69040             Undetermined*
      PO BOX 446                                                                                                             Government of the Commonwealth
      VILLALBA, PR 00766                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 41 of 136
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                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
269   TORRES NORIEGA, EMMARIE                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75432             Undetermined*
      VILLAS DE CANEY
      B 25 A CALLE TURABO
      TRUJILLO ALTO, PR 00976

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
270   TORRES NORIEGA, EMMARIE                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             49891             Undetermined*
      BLOQUE B#25-A CALLE TURABO URB. VILLAS DE CANEY                                                                        Government of the Commonwealth
      TRUJILLO ALTO, PR 00976                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
271   TORRES NUÑEZ, MARIA D.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    63422             Undetermined*
      HC06 BOX 75581
      CAGUAS, PR 00725-9515

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
272   TORRES OPPENHEIMER, ANGELA                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    48592             Undetermined*
      CARR, 831 KM 2.2 CONDOMINIO
      BAYAMONTE APTO.316
      BAYAMÓN, PR 00956

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
273   TORRES ORTIZ, CLARA LUZ                                                                 5/29/2018      17 BK 03566-LTS Employees Retirement System of the             26411                $ 10,800.00*
      CALLE YORK DD-56 VILLA CONTESSA                                                                                        Government of the Commonwealth
      BAYAMON, PR 00956                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
274   TORRES ORTIZ, JOSE M                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72167                 $ 6,600.00*
      EXT FOREST HILLS
      K-378 CALLE ECUADOR
      BAYAMON, PR 00959

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 42 of 136
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                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
275   TORRES ORTIZ, NOELIA                                                                    6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76168             Undetermined*
      253 MARCIAL BUSCH
      CAYEY, PR00736

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
276   TORRES ORTIZ, RITA M.                                                                   6/25/2018      17 BK 03566-LTS Employees Retirement System of the             89123             Undetermined*
      CARR. 151 KM 8.4 APT. 224                                                                                              Government of the Commonwealth
      VILLALBA, PR 00766                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
277   TORRES PADILLA, OLGA MAGALI                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71965             Undetermined*
      HC 2 BOX 71300
      COMERÍO, PR 00782

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
278   TORRES PAGAN, RAMON                                                                     6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74828             Undetermined*
      HC-02 BOX 7486
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
279   TORRES PAGAN, RAMON L                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77938             Undetermined*
      HC-02 BOX 7486
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
280   TORRES PANTOJA, DENISE                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    87775                 $ 19,200.00
      ALTURAS DE RIO GRANDE
      CALLE G #EE 60
      RIO GRANDE, PR 00745

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
281   TORRES PEREZ , MARIA M                                                                  6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     51117            Undetermined*
      3239 CALLE CAFE
      URB. LOS CAOBOS
      PONCE, PR 00716-2743

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 43 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
282   TORRES PEREZ, CLARIBEL                                                                  6/27/2018      17 BK 03566-LTS Employees Retirement System of the             46010                 $ 25,398.72
      BOX 815                                                                                                                Government of the Commonwealth
      UTUADO, PR 00641                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
283   TORRES PEREZ, EDNA I                                                                    6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    39356             Undetermined*
      HC03 BOX 10743
      JUANA DIAZ, PR 00795-9502

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
284   TORRES PÉREZ, JAVIER A                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70157             Undetermined*
      3E - 9 CALLE 25 URB TERRAZAS DEL TOA
      TOA ALTA, PR00953

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
285   TORRES PEREZ, MARCOS A.                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57783             Undetermined*
      CALLE DALIA J-22 CARIBE GARDENS
      CAGUS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
286   TORRES PEREZ, MARCOS A.                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             108311            Undetermined*
      URB. CARIBE GARDENS                                                                                                    Government of the Commonwealth
      CALLE DALIA J22                                                                                                        of Puerto Rico
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
287   TORRES PLUMEY, CARMEN A.                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70183             Undetermined*
      HC 01 BOX 9326
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 44 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
288   TORRES PLUMEY, CARMEN A.                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65312             Undetermined*
      HC 01 BOX 9326
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
289   TORRES PLUMEY, MYRNA                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67435             Undetermined*
      HC 01 BOX 9326
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
290   TORRES PLUMEY, MYRNA                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61742             Undetermined*
      HC 01 BOX 9326
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
291   TORRES PLUMEY, MYRNA                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65435             Undetermined*
      HC 01 BOX 9326
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
292   TORRES PONCE, MARIA                                                                     6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    45126                 $ 10,000.00
      15 CALLE A 1 PARCELAS AMADEO
      VEGA BAJA, PR 00693

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
293   TORRES PONCE, MARIA J.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71812                 $ 20,000.00
      15 CALLE A1 PARCELAS AMADEO
      VEGA BAJA, PR 00693

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
294   TORRES QUINONES, HERIBERTO                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    60560             Undetermined*
      URB EXT TANAMA
      184 CALLE EL MOLINO
      ARECIBO, PR 00612-5335

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 45 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
295   TORRES QUINONES, HERIBERTO                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71745             Undetermined*
      URB EXTENSION TANAMA
      184 CALLE EL MOLINO
      ARECIBO, PR 00612-5335

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
296   TORRES QUINONES, HERIBERTO                                                              6/28/2018      17 BK 03566-LTS Employees Retirement System of the             69300             Undetermined*
      URB EXTENSION TANAMA                                                                                                   Government of the Commonwealth
      184 CALLE EL MOLINO                                                                                                    of Puerto Rico
      ARECIBO, PR 00612-5335

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
297   TORRES QUINONES, MARIA DE LOS A.                                                        6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67157             Undetermined*
      R R 07 BOX 10274
      TOA ALTA, PR00953

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
298   TORRES QUINONES, MARIA DE LOS A                                                         6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66732             Undetermined*
      R R 07 BOX 10274
      TOA ALTA, PR00953

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
299   TORRES QUINONES, SOL M.                                                                 6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    48439             Undetermined*
      PO BOX 681
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
300   TORRES QUINONES, SOL MARIA                                                              6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49745             Undetermined*
      PO BOX 681
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 46 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
301   TORRES QUIRINDONGO, MIVIAN                                                              6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51792             Undetermined*
      URB. LA ESTANCIA
      129 VIA PINTADA
      CAGUAS, PR 00727

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
302   TORRES RAMIREZ , YOLANDA I.                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75319             Undetermined*
      PO BOX 379
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
303   TORRES RAMIREZ, ANGEL L.                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    82420             Undetermined*
      PO BOX 379
      BO. GATO CARR. 566 KM. 5.5
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
304   TORRES RAMIREZ, YOLANDA I.                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71591             Undetermined*
      BO. GATO CARR. 155 KM. 34.0 INTERIOR
      PO BOX 379
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
305   TORRES RAMIS DE AYREFLOR, LUZ M.                                                        6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55540                 $ 5,000.00*
      URB. EL CEREZAL
      CALLE INDO 1658
      SAN JUAN, PR 00926

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
306   TORRES RAMOS, JUAN L                                                                    4/23/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     7012                $ 59,902.94*
      PO BOX 1097
      LUQUILLO, PR 00773

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 47 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
307   TORRES RAMOS, MARIA M                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67545             Undetermined*
      PO BOX 30000 PMB 104
      CANOVANAS, PR 00729

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
308   TORRES RIVERA, ALICEMARIE                                                               6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56300             Undetermined*
      HC 4 BOX 56300
      BO. UNIBON
      MOROVIS, PR 00687-7507

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
309   TORRES RIVERA, JAIME                                                                    6/19/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    50674             Undetermined*
      HC 01 BOX 5259
      CALLE 3 #55 BO. OLLAS
      SANTA ISABEL, PR 00757

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
310   TORRES RIVERA, LISANDRA                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    99122             Undetermined*
      URB VILLA SERRENA CALLE ORQUIDEA T2
      ARECIBO, PR 00612

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
311   TORRES RIVERA, LUIS A                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    82487             Undetermined*
      PO BOX 1020
      PEÑUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
312   TORRES RIVERA, LUIS ANTONIO                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61660             Undetermined*
      HC-05 BOX 27275
      UTUADO, PR 00641

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
313   TORRES RIVERA, MARIA DE L.                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57776             Undetermined*
      HC 01 BOX 4342
      AIBONITO, PR 00705

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 48 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
314   TORRES RIVERA, MARIA ISABEL                                                             6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    37282             Undetermined*
      RR 4 BOX 850
      BAYAMON, PR 00956

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
315   TORRES RIVERA, MARILYN                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             80889             Undetermined*
      HC-01 BOX 3553                                                                                                         Government of the Commonwealth
      AIBONITO, PR 00705                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
316   TORRES RIVERA, PERCYCHEL                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83166             Undetermined*
      EST. DE LOS ARTESANOS 100 CALLE HAMACA
      LAS PIEDRAS, PR 00771

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
317   TORRES RIVERA, RAFAEL                                                                   6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77228             Undetermined*
      HC-07 BOX 2539
      PONCE, PR 00731-9663

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
318   TORRES RIVERA, SARA I.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67710             Undetermined*
      BOX 76
      CARR 186 KM 24.4
      RIO GRANDE, PR 00745

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
319   TORRES RIVERA, SONIA N                                                                  4/10/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     7049             Undetermined*
      PO BOX 473
      ANASCO, PR 00610

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
320   TORRES RIVERA, ÚRSULA                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71797             Undetermined*
      HC 03 BOX 8998
      GUAYNABO, PR 00971

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 49 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
321   TORRES ROBLES, DAISY                                                                    6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    43422             Undetermined*
      PO BOX 707
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
322   TORRES ROBLES, DAISY                                                                    6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55473             Undetermined*
      PO BOX 707
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
323   TORRES ROBLES, NANCY                                                                    6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56859             Undetermined*
      PO BOX 707
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
324   TORRES RODRIGUEZ, AMELIA                                                                6/22/2018      17 BK 03566-LTS Employees Retirement System of the             85877             Undetermined*
      URB. SANTA MARIA                                                                                                       Government of the Commonwealth
      CALLE HACIENDA LA GLORIA H.4                                                                                           of Puerto Rico
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
325   TORRES RODRIGUEZ, AMELIA                                                                6/22/2018      17 BK 03566-LTS Employees Retirement System of the             104916            Undetermined*
      URB. SANTA MARIA                                                                                                       Government of the Commonwealth
      CALLE HACIENDA LA GLORIA H4                                                                                            of Puerto Rico
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
326   TORRES RODRIGUEZ, ESTEFANIA                                                              7/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    91869             Undetermined*
      206 COMUNIDAD SANTA BARBARA
      CAMUY, PR 00627

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 50 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
327   TORRES RODRIGUEZ, EVELYN                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65958             Undetermined*
      CALLE GARDENIA E 25
      JARDINES DE CAYEY II
      CAYEY, PR00736

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
328   TORRES RODRIGUEZ, GIL S                                                                 6/28/2018      17 BK 03566-LTS Employees Retirement System of the             62976             Undetermined*
      CARRETERA 143 KM 46.0                                                                                                  Government of the Commonwealth
      HC 01 BOX 5834                                                                                                         of Puerto Rico
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
329   TORRES RODRIGUEZ, MARILYN                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    63719             Undetermined*
      HC - 02 BOX 31599
      CAGUAS, PR 00727

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
330   TORRES RODRIGUEZ, NELLY I.                                                              6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    53449                 $ 75,010.41
      PO BOX 1457
      MOROVIS, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
331   TORRES RODRIGUEZ, NYDIA L.                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75085             Undetermined*
      VILLA RICA CALLE X AR 2
      BAYAMON, PR 00959

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
332   TORRES RODRIGUEZ, REY D.                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    99801             Undetermined*
      PO BOX 9650
      CIDRA, PR 00739

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
333   TORRES RODRÍGUEZ, REY D.                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73483             Undetermined*
      PO BOX 9650
      CIDRA, PR 00739

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 51 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
334   TORRES RODRIGUEZ, VILMA                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73984             Undetermined*
      URB. MABU CALLE 4 F 7
      HUMACAO, PR 00791

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
335   TORRES ROMAN, EDGARDO JAVIER                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    140964            Undetermined*
      HC-01 BOX 9417
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
336   TORRES ROMAN, EDGARDO JAVIER                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    163862            Undetermined*
      HC-01 BOX 9417
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
337   TORRES ROMAN, TERESA                                                                     7/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    140967                $ 10,000.00
      HC 2 BOX 30050
      CAGUAS, PR 00727

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
338   TORRES ROSADO, JULIO                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83397             Undetermined*
      PO BOX 10043
      CIDRA, PR 00739

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
339   TORRES ROSADO, NOEMI                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78377                  $ 9,600.00
      HC-01 BOX 6068
      GUAYNABO, PR 00971

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
340   TORRES ROSADO, ROSA E.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75762             Undetermined*
      HC 01 BOX 9427
      PEÑUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 52 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
341   TORRES ROSADO, ROSA E.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72776             Undetermined*
      HC 01 BOX 9427
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
342   TORRES ROSARIO, ALICIA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    144389            Undetermined*
      P.O. BOX 351
      SALINAS, PR 00751-0351

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
343   TORRES RUIZ, OSCAR                                                                      6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    32351             Undetermined*
      1000 WEST SHORE DR
      EDGEWOOD, MD 21040

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
344   TORRES SANCHEZ, DENISE C.                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69874             Undetermined*
      PO BOX 2848
      RIO GRANDE, PR 00745-2848

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
345   TORRES SANDOVAL, DIOYLLY N                                                              6/29/2018      17 BK 03566-LTS Employees Retirement System of the             91934             Undetermined*
      HC03 BOX 16422                                                                                                         Government of the Commonwealth
      COROZAL, PR 00783                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
346   TORRES SANTANA, LUIS A                                                                  5/18/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49154             Undetermined*
      PO BOX 541
      HORMIGUEROS, PR 00660

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
347   TORRES SANTIAGO, DOMINGA                                                                6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    41764             Undetermined*
      URB. EL ROSARIO
      103 SAN JOSE
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 53 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
348   TORRES SANTIAGO, EDWIN A.                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    152842            Undetermined*
      HC-1 BOX 31313
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
349   TORRES SANTIAGO, ESMERIDA                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    87864             Undetermined*
      P.O. BOX 142
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
350   TORRES SANTIAGO, MARILIZ                                                                6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    52069             Undetermined*
      P.O. BOX 1183
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
351   TORRES SANTIAGO, NELLY                                                                  6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    53848             Undetermined*
      PO BOX 3502
      SUITE 1161
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
352   TORRES SANTIAGO, NELLY                                                                  6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    53868             Undetermined*
      PO BOX .3502
      SUITE 1161
      JUANA DÍAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
353   TORRES SANTO DOMINGO, MIGUEL A.                                                         6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75214             Undetermined*
      RR-1 BOX 13215
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
354   TORRES SEGARRA, ELSA I.                                                                 6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    47940             Undetermined*
      APT. 931
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 54 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
355   TORRES TORO, VIRGEN                                                                     6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75723             Undetermined*
      URB GLENVIEW GARDENS
      J 7 CALLE ESTADO
      PONCE, PR 00730-1738

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
356   TORRES TORRES, ANA M                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    101967                $ 97,505.53
      VILLAS DE BUENAVENTURA #297
      CALLE GUARACA
      YABUCOA, PR 00767-9504

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
357   TORRES TORRES, EVELYN                                                                   6/20/2018      17 BK 03566-LTS Employees Retirement System of the             50793             Undetermined*
      SOLAR 1 CALLE 3                                                                                                        Government of the Commonwealth
      BO JACAGUAS SECTOR BAYOAN                                                                                              of Puerto Rico
      JUANA DIAZ, PR 00795-9521

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
358   TORRES TORRES, GERMAN                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67247                 $ 14,400.00
      HC-01 BOX 5267
      RINCON, PR 00677

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
359   TORRES TORRES, HECTOR FELIX                                                             6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    53961             Undetermined*
      PO BOX 1183
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
360   TORRES TORRES, IVONNE                                                                   6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    48960             Undetermined*
      VILLA EL ENCANTO
      F10 CALLE 1
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 55 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
361   TORRES TORRES, IVONNE                                                                   6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49508             Undetermined*
      VILLA EL ENCANTO
      F10 CALLE 1
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
362   TORRES TORRES, IVONNE                                                                   6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49818             Undetermined*
      VILLA EL ENCANTO
      F10 CALLE 1
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
363   TORRES TORRES, IVONNE                                                                   6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    48753             Undetermined*
      VILLA EL ENCANTO
      F10 CALLE 1
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
364   TORRES TORRES, JOSE A.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    95643             Undetermined*
      HC 01 BOX 31246
      JUANA DÍAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
365   TORRES TORRES, JOSE LUIS                                                                6/20/2018      17 BK 03566-LTS Employees Retirement System of the             50853             Undetermined*
      BOX 1154                                                                                                               Government of the Commonwealth
      AIBONITO, PR 00705                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
366   TORRES TORRES, LOURDES M.                                                               6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76848             Undetermined*
      P.O BOX 8699
      PONCE, PR 00732

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 56 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
367   TORRES TORRES, MARILYN                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    152622            Undetermined*
      URB. UNIVERSITY GARDEN CALLE AUSUBO I-22
      ARECIBO, PR 00612

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
368   TORRES TORRES, YANIRA                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    60754             Undetermined*
      PO BOX 560 688
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
369   TORRES TORRES, YOJAIDA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    87904             Undetermined*
      CALLE 6 E196
      LA PONDEROSA
      VEGA ALTA, PR00692

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
370   TORRES TURRELL, ENRIQUE                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    38171             Undetermined*
      PALACIOS DEL PRADO AVE ATLANTICO #G74
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
371   TORRES TURRELL, ENRIQUE                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    59066                 $ 48,000.00
      PALACIOS DEL PRADO AVE ATLANTICO #G74
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
372   TORRES VEGA, JOSE D                                                                     6/27/2018      17 BK 03566-LTS Employees Retirement System of the             60850             Undetermined*
      LA VEGA 204                                                                                                            Government of the Commonwealth
      CALLE PRINCIPAL                                                                                                        of Puerto Rico
      VILLALBA, PR 00766

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
373   TORRES VEGA, MIRNA N.                                                                   6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    46726                $ 72,000.00*
      PO BOX 756
      PEÑUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 57 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
374   TORRES VENTURA, VIRGENMINA                                                              6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76930             Undetermined*
      HC01 BOX 3901
      SANTA ISABEL, PR 00757

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
375   TORRES ZAYAS, LUIS A.                                                                   6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77497             Undetermined*
      8 URB. HOSTOS
      SANTA ISABEL, PR 00757

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
376   TORRES, ANA M.                                                                          6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79762             Undetermined*
      CALLE TINTILLO D136 TINTILLO GARDENS GUAYNABO
      GUAYNABO, PR 00966

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
377   TORRES, BENIAMINO PAGAN                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72250             Undetermined*
      URB. SANTA ELENA
      D-10 CALLE ALGARROBA
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
378   TORRES, FRANCISCO ALOMAR                                                                6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49612             Undetermined*
      P.O. BOX 2131
      SALINAS, PR 00751

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
379   TORRES, GLISOBEL COLLADO                                                                6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    50450             Undetermined*
      HC 5 BOX 8056
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
380   TORRES, GLISOBEL COLLADO                                                                6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51154             Undetermined*
      HC 5 BOX 8056
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 58 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
381   TORRES, JOISETTE DEODATTI                                                               6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49209             Undetermined*
      E-1 CALLE 5 VILLA DEL RIO
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
382   TORRES, JUANITA                                                                         6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76216             Undetermined*
      LOS CAOBOS CALLE YAGRUMO 2037
      PONCE, PR 00716

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
383   TORRES, JUANITA                                                                         6/20/2018      17 BK 03566-LTS Employees Retirement System of the             75194             Undetermined*
      2037 CALLE YAGRUMO                                                                                                     Government of the Commonwealth
      PONCE, PR 00716                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
384   TORRES, MARIA ISABEL                                                                    6/20/2018      17 BK 03566-LTS Employees Retirement System of the             78136             Undetermined*
      HC 03 BOX 11813                                                                                                        Government of the Commonwealth
      JUANA DIAZ, PR 00795                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
385   TORRES, MARIBEL TORRES                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57380             Undetermined*
      37 CALLE LUIS BARTOLOMEI
      URB. SAN JOAQUIN
      ADJUNTAS, PR 00601

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
386   TORRES, MILAGROS APONTE                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    91956             Undetermined*
      HC 01- BOX 55341
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 59 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
387   TORRES, SOL A.                                                                          6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    46905             Undetermined*
      P.O. BOX 452
      MOROVIS, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
388   TORRES, SOL A.                                                                          6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55597             Undetermined*
      P.O. BOX 452
      MOROVIS, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
389   TORRES, YOLANDA GONZALEZ                                                                6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55513             Undetermined*
      PASEOS DE JACARANDA
      CALLE MAGAS 15541
      SANTA ISABEL, PR 00757

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
390   TORRES-ROBLES, NANCY M                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83293             Undetermined*
      CALLE H # N-2
      NUEVA VIDA, EL TUQUE
      PONCE, PR 00728-6725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
391   TORREZ MATEO, MIGDALIA                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the             70988             Undetermined*
      PO BOX 2315                                                                                                            Government of the Commonwealth
      SALINAS, PR 00751                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
392   TORRUELLA COLON, BRENDA                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62188             Undetermined*
      URB. VALLE HUCARES
      44 CALLE MAGA
      JUANA DIAZ, PR 00780-1071

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 60 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
393   TORRUELLA COLON, BRENDA                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69551             Undetermined*
      URB VALLLE HUCARES 44 CALLE MAGA
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
394   TORRUELLA COLON, BRENDA                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72788             Undetermined*
      URB. VALLE HUCARES
      CALLE MAGA # 44
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
395   TORRUELLA COLON, BRENDA                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73452             Undetermined*
      URB. VALLE HUCARES
      44 CALLE MAGA
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
396   TORRUELLA HERNANDEZ, EMMA JUDITH                                                        6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75833             Undetermined*
      P.O. BOX 8231
      PONCE, PR 00732-8231

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
397   TOSADO CASTRO, VIVIEN J                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70912             Undetermined*
      HC 06 BOX 65546-A
      CAMUY, PR 00627

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
398   TOSADO CASTRO, VIVIEN J.                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66764             Undetermined*
      HC06 BOX 65546-A
      CAMUY, PR 00627

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
399   TOSSAS COLON, BEATRIZ                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74073                 $ 80,000.00
      URB. VILLA DEL CARMEN
      CALLE SALERNO #1043
      PONCE, PR 00716

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 61 of 136
                                    Case:17-03283-LTS Doc#:14624-3 Filed:10/20/20 Entered:10/20/20 11:16:00                                                     Desc:
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
400   TOSTE ARANA, MARIA T.                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64303                 $ 12,000.00
      CALLE 1 S.E. #911 URBANIZACION REPARTO METROPOLITANO
      SAN JUAN, PR 00921

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
401   TRABAL GONZALEZ, MIRIAM                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    60913                  $ 6,000.00
      PARCELAS CASTILLO
      F2-1 CALLE PRINCESA
      MAYAGUEZ, PR 00682

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
402   TRAVERSO VÁZQUEZ, OLGA I.                                                               6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55710             Undetermined*
      PO BOX 413
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
403   TRAVERZO PEREZ, NILMARIE                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    93257             Undetermined*
      # 17 CALLE PABLO GUZMAN
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
404   TRAVIESO CAMACHO, VANESSA                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74673                 $ 19,500.00
      PO BOX 504
      NAGUABO, PR 00718

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
405   TRAVIESO GONZALEZ, MARIA DEL ROSARIO                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70941                 $ 23,800.00
      URB EXT. RAMON RIVERO DIPLO CALLE 3 L-19
      NAGUABO, PR 00718

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
406   TRINIDAD DEL VALLE, GLORIA                                                              6/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68597             Undetermined*
      HC 10 BOX 49950
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 62 of 136
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                                                                     Ninety-Second Omnibus Objection
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                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
407   TRINIDAD DEL VALLE, GLORIA                                                              6/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    111397            Undetermined*
      HC 10 BOX 49950
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
408   TRINIDAD PABÓN, NYDIA I.                                                                 7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    43832             Undetermined*
      RR 6 BOX 9654
      SAN JUAN, PR 00926

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
409   TRINIDAD, RAFAEL                                                                        6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    105200                $ 25,000.00
      2211 VILLA DRIVE
      VALRICO, FL 33594

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
410   TROCHE CASTILLO, IRENE                                                                  6/22/2018      17 BK 03566-LTS Employees Retirement System of the             76594             Undetermined*
      J 25 ARMANI URB. LA QUINTA                                                                                             Government of the Commonwealth
      YAUCO, PR 00698                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
411   TROCHE FIGUEROA, DAMARYS                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    45487             Undetermined*
      SECTOR AMILL HC-03 BOX 15272
      YAUCO, PR 00698-9623

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
412   TROCHE RAMIREZ, ANGEL M.                                                                 7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    130829            Undetermined*
      APARTADO791
      LUQUILLO, PR 00773

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
413   TRUJILLO, IVETTE M.                                                                     6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    92959                 $ 24,000.00
      P O BOX 7243
      CAROLINA, PR 00986

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 63 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
414   UMPIERRE GARCIA, BARBARA G                                                              6/11/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49090             Undetermined*
      URB QUINTAS DEL NORTE
      B 19 CALLE 3
      BAYAMON, PR 00959

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
415   URRUTIA CRUZ, IVONNE                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65616             Undetermined*
      EXT. VILLA RITA
      CALLE 28
      CC-5
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
416   URRUTIA CRUZ, IVONNE                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69834             Undetermined*
      EXT. VILLA RITA
      CALLE 28 CC-5
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
417   VALCARCEL ORTIZ, TANYA                                                                   7/1/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    92448             Undetermined*
      CALLE NISPERO #108 URB. LA ESTANCIA
      LAS PIEDRAS, PR 00771

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
418   VALCARCEL VALCARCEL, LEYDA GRISEL                                                       6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65524             Undetermined*
      LEYDA G. VALCARCEL VALCARCEL
      URB. CIUDAD INTERAMERICANA
      CALLE 1 BOX 821
      BAYAMON, PR 00956

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
419   VALENCIA ALVAREZ, IRIS ELIZABETH                                                        6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    48615             Undetermined*
      BARRIADA CAYO HUESO # 30 CALLE 1
      SAN JUAN, PR 00924

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 64 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
420   VALENCIA BUJOSA, DINA R                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74072                $ 100,000.00
      CALLE DIAMELA F-17
      URB VILLA SERENA
      ARECIBO, PR 00612

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
421   VALENTIN FIGUEROA, JUANA DEL R                                                          6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79626             Undetermined*
      PO BOX 1888
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
422   VALENTIN FIGUEROA, JUANA DEL R                                                          6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73436             Undetermined*
      PO BOX 1888
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
423   VALENTIN FIGUEROA, JUANA DEL R                                                          6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76144             Undetermined*
      PO BOX 1888
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
424   VALENTIN GONZALEZ, MIGDALIA                                                             6/29/2018      17 BK 03566-LTS Employees Retirement System of the             86633             Undetermined*
      PO BOX 900                                                                                                             Government of the Commonwealth
      FLORIDA, PR 00650                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
425   VALENTIN MUÑIZ, SAMARY                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    81629             Undetermined*
      URBAMIZACIÓN SANTA MARÍA CALLE SANTA MARTA O-4
      TOA BAJA, PR 00949

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
426   VALENTIN MUNOZ, EVELYN                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61971                $ 23,000.00*
      HC 57 BOX 8964
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 65 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
427   VALENTIN OLAZAGASTI, FREDERICK                                                          6/27/2018      17 BK 03566-LTS Employees Retirement System of the             56426             Undetermined*
      CALLE ARIZONA 7 CASA #1                                                                                                Government of the Commonwealth
      P.O. BOX 352                                                                                                           of Puerto Rico
      ARROYO, PR 00714

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
428   VALENTIN PADUA, CESAR A.                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    85651             Undetermined*
      PO BOX 5143
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
429   VALENTIN PONCE, MARITZA                                                                  7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    150809            Undetermined*
      VILLAS CENTROAMERICANAS
      APT 243
      MAYUGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
430   VALENTIN RIOS, JOSE A.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    99971             Undetermined*
      VILLAS DEL OESTE
      PISCIS 807
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
431   VALENTIN RIVERA, VANESSA I                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70197             Undetermined*
      5 ARIZONA
      CALLE 21
      ARROYO, PR 00714

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
432   VALENTIN RODRIGUEZ, CRISTINA                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80018             Undetermined*
      VILLAS DE RIO GRANDE
      CALLE 25 AF-12
      RIO GRANDE, PR 00745

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 66 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
433   VALENTIN ROMAN, MILTON                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65869                 $ 17,900.00
      PO BOX 2026
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
434   VALENTIN SEGUINOT, PROVIDENCIA                                                          6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77666                 $ 27,900.00
      PO BOX 888
      ANASCO, PR 00610

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
435   VALENTIN SILVA, LUIS A.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80807                 $ 25,000.00
      7044 CESARINA GONZE URB. RIO CRISTAL
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
436   VALENTIN SUAREZ, MARIA ESTHER                                                           6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    126995            Undetermined*
      VALLES DE GUAYAMA
      CALLE: 9-J-15
      GUAYAMA, PR 00784

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
437   VALENTIN TORRES, LUIS H.                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    96180             Undetermined*
      14 E MUNOZ RIVERA
      RINCON, PR 00667

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
438   VALENTIN TORRES, OSCAR                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             77044             Undetermined*
      HC-46 BOX 6152                                                                                                         Government of the Commonwealth
      DORADO, PR 00646                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
439   VALENTIN VARGAS, MARIVETTE                                                               7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    159014               $ 19,200.00*
      HC-6 BOX 61669
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 67 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
440   VALENTIN, LUZ M.                                                                        6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77727             Undetermined*
      FC#3 JOAQUIN LOPEZ ST.
      LEVITTOWN
      TOA BAJA, PR 00949

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
441   VALK, ROSA ROMI                                                                         5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    37272                 $ 60,000.00
      2053 AVE PA COMPOS
      SUITE 2 PNB 268
      AGUADILLA, PR 00603

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
442   VALLADARES CRESPO, NORBERTO                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67091                    $ 500.00
      URB.BUENAVENTURA CALLE MAGNOLIA1251
      MAYAGUEZ, PR 00682

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
443   VALLADARES CRESPO, NORBERTO                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67025                 $ 16,200.00
      URB. BUENAVENTURA 1251
      CALLE MAGNOLIA
      MAYAGUEZ, PR 00682

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
444   VALLADARES CRESPO, NORBERTO                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73856                 $ 9,000.00*
      URB. BUENAVENTURA
      CALLE MAGNOLIA 1251
      MAYAGUEZ, PR 00682

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
445   VALLE COLÓN, PETER                                                                      6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    45351                $ 75,000.00*
      URBANIZACIÓN VENUS GARDENS
      CUPIDO 695
      SAN JUAN, PR 00926

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 68 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
446   VALLE PEREZ, ELIDA L.                                                                    7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    165350                 $ 5,000.00
      CALLE SAN NARCISO 260
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
447   VALLE RAMOS, YVETTE V.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62633             Undetermined*
      HC 3 BOX 6726
      HUMACAO, PR 00791-9558

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
448   VALLEJO GORDIAN, MARIA E                                                                6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56488             Undetermined*
      URB JARDINES SAN LORENZO
      CALLE # 2, A-7
      SAN LORENZO, PR 00754

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
449   VALLES RIVERA, CARMEN L.                                                                6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    108368            Undetermined*
      PO BOX 686
      PATILLAS, PR 00723

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
450   VALLES SERRANO, GLADYS                                                                  6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    34261             Undetermined*
      URB. VILLA DEL CARMEN
      CALLE TURIN #2454
      PONCE, PR 00716

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
451   VALVERDI AVILES, JOSE A                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    85323             Undetermined*
      PO BOX 99
      SABANA GRANDE, PR 00637-0099

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
452   VALVERDI RONDON, EDITH M.                                                               6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    52935             Undetermined*
      PARQUE DE LAS FLORES #2603
      CAROLINA, PR 00987

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 69 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
453   VARELA RUIZ, YADITZA                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    63908             Undetermined*
      HC 61 BOX 35409
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
454   VARELA RUIZ, YADITZA                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    89524             Undetermined*
      HC 61 BOX 35409
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
455   VARGAS ADORNO, IVETTE                                                                   6/28/2018      17 BK 03566-LTS Employees Retirement System of the             66646             Undetermined*
      CALLE ZORZAL #52B                                                                                                      Government of the Commonwealth
      PARCELAS CARMEN                                                                                                        of Puerto Rico
      VEGA ALTA, PR00692

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
456   VARGAS BARRIERA, ARELIS                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72932             Undetermined*
      #975A BARCELO EL TUQUE
      PONCE, PR 00728

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
457   VARGAS BONILLA, MILAGROS DEL C.                                                         6/19/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    50671             Undetermined*
      133 SAGROADO CORAZON
      URB EL ROSARIO
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
458   VARGAS CASTRO, TERESA                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    46819             Undetermined*
      URB. JARDINES DE LA VIA 157
      CALLE ROSADO
      NAGUABO, PR 00718-2268

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 70 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
459   VARGAS CASTRO, TERESA                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    59085             Undetermined*
      URB. JARDINES DE LA VIA 157 CALLE ROSADO
      NAGUABO, PR 00718-2268

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
460   VARGAS CASTRO, TERESA                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74801             Undetermined*
      URB. JARDINES DE LA VIA 157
      CALLE ROSADO
      NAGUABO, PR 00718-2268

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
461   VARGAS CASTRO, TERESA                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64368             Undetermined*
      URB. JARDINES DE LA VIA 157
      CALLE ROSADO
      NAGUABO, PR 00718-2268

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
462   VARGAS CASTRO, TERESA                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77157             Undetermined*
      URB. JARDINES DE LA VIA 157
      CALLE ROSADO
      NAGUABO, PR 00718-2268

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
463   VARGAS DIAZ, LIZZETTE                                                                   6/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    29801             Undetermined*
      1704 GOODVIEW ROAD
      PARKVILLE, MD 21234

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
464   VARGAS GARCIA, ADMARY                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    92817                  $ 5,000.00
      PARCELAS CASTILLO A 2 CALLE COLINAS
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 71 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
465   VARGAS HERNANDEZ, FRANCES                                                               6/27/2018      17 BK 03566-LTS Employees Retirement System of the             59461             Undetermined*
      PO BOX 250234                                                                                                          Government of the Commonwealth
      AGUADILLA, PR 00604-0234                                                                                               of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
466   VARGAS IRIZARRY, CARMEN B                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68094             Undetermined*
      2111 REPARTO ALTURAS
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
467   VARGAS MENDEZ, BENITO                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56738             Undetermined*
      EXT. ALTA VISTA
      CALLE 26 XX 42
      PONCE, PR 00716-4268

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
468   VARGAS MENDEZ, BENITO                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72576             Undetermined*
      EXT. ALTA VISTA
      CALLE 26 XX 42
      PONCE, PR 00716-4268

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
469   VARGAS MENDEZ, BENITO                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    81340             Undetermined*
      EXT. ALTA VISTA
      CALLE 26 XX 42
      PONCE, PR 00716-4268

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
470   VARGAS MOJICA, ANA LUISA                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    97999             Undetermined*
      SAN ANTONIO PARCELA14
      DORADO, PR 00646

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 72 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
471   VARGAS PAGAN, ANGELICA                                                                   7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    97184             Undetermined*
      URB. ROYAL TOWN C-32 V 36
      BAYAMON, PR 00956

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
472   VARGAS PEREZ, NOEL R.                                                                   6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    59149             Undetermined*
      PO BOX 285
      MAYAGUEZ, PR 00681

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
473   VARGAS QUIJANO, SARA                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58535             Undetermined*
      CALLE MILAGROS CABEZA B 2
      CAROLINA ALTA, PR00987

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
474   VARGAS RAMOS, JUAN L.                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70428                  $ 8,400.00
      PO BOX 1463
      RINCON, PR 00677-1463

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
475   VARGAS RAMOS, JUAN L.                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    85229                 $ 17,000.00
      PO BOX 1463
      RINCON, PR 00677-1463

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
476   VARGAS RIVERA, AWILDA I                                                                 6/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75188             Undetermined*
      318 CALLE IMPERIO
      MANSIONES DE COAMO
      COAMO, PR 00769-9309

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
477   VARGAS RODRÍGUEZ, DANIEL I.                                                             6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    54877             Undetermined*
      BUZÓN 224 CALLE P SAN ROMUALDO
      HORMIGUEROS, PR 00660

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 73 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
478   VARGAS RODRIGUEZ, WALESKA I                                                              7/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    124645                $ 1,200.00*
      REPARTO UNIVERSIDAD
      CALLE 11 A-1
      SAN GERMAN, PR 00683

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
479   VARGAS SANTOS, SANDRA                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the             164690            Undetermined*
      #175 CALLE LUIS MUNOZ RIVERA                                                                                           Government of the Commonwealth
      GUAYANILLA, PR 00656                                                                                                   of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
480   VARGAS TORRES, VICTOR J.                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    44437             Undetermined*
      P.O. BOX 293
      VEGA ALTA, PR00692

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
481   VARGAS TROCHE, LYDIA                                                                     7/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    153585                $ 10,200.00
      PO BOX 6710
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
482   VARGAS VELAZQUEZ, WENDOLINE V.                                                          6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    127806            Undetermined*
      P.O. BOX 578
      COAMO, PR 00769

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
483   VARGAS VELEZ, MIGUEL A                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78449             Undetermined*
      APARTADO419
      AIBONITO, PR 00705-0419

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
484   VARGAS, BENJAMIN                                                                        6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    54624                 $ 2,400.00*
      HC 07 BOX 37977
      AGUADILLA, PR 00603

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 74 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
485   VARGAS, BENJAMIN                                                                        6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74847             Undetermined*
      HC 07 BOX 37977
      AGUADILLA, PR 00603

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
486   VARGAS, JOHN VEGA                                                                       6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    53793             Undetermined*
      2111 REPARTO ALTURAS
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
487   VARGAS, JUANA ALGARIN                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62776             Undetermined*
      BJ 670 CALLE 51
      JARDINES DE RIO GRANDE
      RIO GRANDE, PR 00745

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
488   VARGAS, MADELINE VARGAS                                                                 6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    48335                 $ 13,200.00
      HC 01 BOX 7460
      LAJAS, PR 00667

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
489   VASQUEZ MARREO, VILMA                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76768             Undetermined*
      CALLE 13 N-26 BAYAMON GARDENS
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
490   VASQUEZ SILVA, LINNETTE                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75804             Undetermined*
      CALLE 15 N 14
      CASTELLANA GARDENS
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
491   VAZQUEZ ALVAREZ, EDNA L                                                                  7/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    154946            Undetermined*
      HC 04 BOX 2908
      BARRANQUITAS, PR 00794

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 75 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
492   VAZQUEZ AYALA, MEISALI M.                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57594             Undetermined*
      DEPARTAMENTO DE EDUCACIÓN
      429 CALLE LOS PINOS, APTO. 803
      CONDOMINIO FLORAL PLAZA
      SAN JUAN, PR 00917

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
493   VÁZQUEZ AYALA, MEISALÍ M.                                                               6/28/2018      17 BK 03566-LTS Employees Retirement System of the             59909             Undetermined*
      429 CALLE LOS PINOS, APTO. 803                                                                                         Government of the Commonwealth
      CONDOMINIO FLORAL PLAZA                                                                                                of Puerto Rico
      SAN JUAN, PR 00917

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
494   VAZQUEZ BAEZ, MARIA DEL CARMEN                                                           7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    101051            Undetermined*
      RR 01 BOX 6374
      MARICAO, PR 00606

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
495   VAZQUEZ BETANCOURT, AGNES                                                               6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    40358             Undetermined*
      URB EL CONQUISTADOR
      RC2 CALLE 11
      TRUJILLO ALTO, PR 00976

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
496   VAZQUEZ BETANCOURT, AGNES                                                               6/26/2018      17 BK 03566-LTS Employees Retirement System of the             50819             Undetermined*
      DEPARTAMENTO DE EDUCACION                                                                                              Government of the Commonwealth
      URB EL CONQUISTADOR CALLE 11 RC2                                                                                       of Puerto Rico
      TRUJILLO ALTO, PR 00976

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
497   VAZQUEZ BONILLA, MARTIN R.                                                              6/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    53415             Undetermined*
      HC1 BOX 3862 CALLE 1
      SANTA ISABEL, PR 00757

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 76 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
498   VAZQUEZ BORRERO , MORAYMA                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    87825             Undetermined*
      URB PUERTO NUEVO
      APENINOS 525
      SAN JUAN, PR 00920

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
499   VAZQUEZ BORRERO, LYNNETTE                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    85117             Undetermined*
      URB. PUERTO NUEVO
      APENINOS 525
      SAN JUAN, PR 00920

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
500   VAZQUEZ CASAS , WLMARIE                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77527             Undetermined*
      M-8 CALLE TOMASA ORTIZ
      URB. VILLA SAN ANTÓN
      CAROLINA, PR 00987

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
501   VAZQUEZ CINTRON, AIDA MABLDE                                                            7/16/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    161483            Undetermined*
      URB LA RIVERA C/1 B-17
      ARROYO, PR 00714

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
502   VAZQUEZ COLON, LOURDES                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    146760            Undetermined*
      HC04 BOX 2891
      BARRANQUITAS, PR 00794

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
503   VAZQUEZ CRUZ, SARA IRIS                                                                  7/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    82778             Undetermined*
      DD37 VIA REXVILLE VANSCOY
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
504   VAZQUEZ DE JESUS , WILFREDO                                                             6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77905             Undetermined*
      6108 CALLE SAN CLAUDIO STA.TERESITA
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 77 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
505   VAZQUEZ DE JESUS, CARMEN L.                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69385             Undetermined*
      CALLE 29 BE-6
      VILLA UNIVERSITARIA
      HUMACAO, PR 00791

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
506   VAZQUEZ DE JESUS, CESAR                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76479             Undetermined*
      18 VILLA DE LAS BRISAS
      COAMO, PR 00769-9200

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
507   VAZQUEZ DE JESUS, IVETTE                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    152322            Undetermined*
      PARCELAS JAUCA #70
      SANTA ISABEL, PR 00757

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
508   VAZQUEZ DEGRO, ALICIA                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57635             Undetermined*
      #24 BRISAS DEL CARIBE
      PONCE, PR 00728-5300

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
509   VAZQUEZ DEGRO, ALICIA                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69204             Undetermined*
      #24 BRISAS DEL CARIBE
      PONCE, PR 00728-5300

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
510   VAZQUEZ DEGRO, JOHANNA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    97429             Undetermined*
      E-13 AVE. GLEN
      GLENVIEW GARDEN
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
511   VÁZQUEZ DEGRÓ, JOHANNA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74300             Undetermined*
      E-13 AVE GLEN
      GLENVIE GARDEN
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 78 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
512   VAZQUEZ DELGADO, ANA B.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    127091            Undetermined*
      URB COUNTRY CLUB #880 CALLE YABOA REAL
      SAN JUAN, PR 00924

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
513   VAZQUEZ DIAZ, INES M.                                                                   6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    106365            Undetermined*
      URB. PRADERAS DEL SUR 909 ALMACIGO
      SANTA ISABEL, PR 00757

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
514   VÁZQUEZ ESTRELLA, CARMEN E.                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74597                $ 12,000.00*
      HC3 BOX 33468
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
515   VAZQUEZ FERNANDEZ, MARIA DEL CARMEN                                                     6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    100613            Undetermined*
      APARTADO37-1234
      CAYEY, PR00737

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
516   VAZQUEZ FUENTES, CARMEN SONIA                                                           6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62819                $ 36,000.00*
      HC-72 BOX 4062
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
517   VAZQUEZ FUENTES, CARMEN SONIA                                                           6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    60242                $ 36,000.00*
      HC-72 BOX 4062
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
518   VAZQUEZ FUENTES, CARMEN SONIA                                                           6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61138                $ 36,000.00*
      HC-72 BOX 4062
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 79 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
519   VAZQUEZ FUENTES, CARMEN SONIA                                                           6/28/2018      17 BK 03566-LTS Employees Retirement System of the             52824                $ 36,000.00*
      HC-72 BOX 4062                                                                                                         Government of the Commonwealth
      NARANJITO, PR 00719                                                                                                    of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
520   VAZQUEZ FUENTES, JOSE ALBERTO                                                           6/28/2018      17 BK 03566-LTS Employees Retirement System of the             63071                $ 45,000.00*
      127 CALLE AMAPOLA                                                                                                      Government of the Commonwealth
      URB. JARDINES DE NARANJITO                                                                                             of Puerto Rico
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
521   VAZQUEZ FUENTES, JOSE ALBERTO                                                           6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    63776                $ 45,000.00*
      127 CALLE AMAPOLA
      URB. JARDINES DE NARANJITO
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
522   VAZQUEZ FUENTES, JOSE ALBERTO                                                           6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58080                $ 45,000.00*
      127 CALLE AMAPOLA URB. JARDINES DE NARANJITO
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
523   VAZQUEZ FUENTES, JOSE ALBERTO                                                           6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    63326                $ 45,000.00*
      127 CALLE AMAPOLA
      URB. JARDINES DE NARANJITO
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
524   VAZQUEZ FUENTES, JOSE ALBERTO                                                           6/28/2018      17 BK 03566-LTS Employees Retirement System of the             61043                $ 45,000.00*
      127 CALLE AMAPOLA                                                                                                      Government of the Commonwealth
      URB. JARDINES DE NARANJITO                                                                                             of Puerto Rico
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 80 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
525   VAZQUEZ GARCIA, ALICIA                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73404                  $ 9,600.00
      PARCELAS MARQUEZ
      21 CALLE ALMENDRA
      MANATI, PR 00674

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
526   VAZQUEZ GARCIA, ANA DELIA                                                               10/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    167608                 $ 9,600.00
      PO BOX 798
      VEGA BAJA, PR 00694

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
527   VAZQUEZ GARCIA, ANA DELIA                                                               10/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    167609            Undetermined*
      PO BOX 798
      VEGA BAJA, PR 00694

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
528   VAZQUEZ GARCIA, SONIA M.                                                                6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51066             Undetermined*
      URB BUNKER
      CALLE COLOMBIA 100
      CAGUAS, PR 00725-5424

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
529   VAZQUEZ GONZALEZ, AIDA                                                                  6/15/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58409             Undetermined*
      HC 04 BOX 8131
      JUANA DIAZ, PR 00795-9604

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
530   VAZQUEZ GONZALEZ, CARMEN M.                                                             6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75926             Undetermined*
      HC 5 BOX 13549
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
531   VÁZQUEZ GONZÁLEZ, ENID                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    92221                 $ 14,400.00
      HC 6 BOX 13675
      COROZAL, PR 00783

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 81 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
532   VAZQUEZ GONZALEZ, FREDESWINDA                                                           6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    164803            Undetermined*
      4314 AVE CONSTANCIA
      VILLA DEL CARMEN
      PONCE, PR 00716

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
533   VÁZQUEZ GONZÁLEZ, VANESSA                                                               6/28/2018      17 BK 03566-LTS Employees Retirement System of the             69817             Undetermined*
      PO BOX 3193                                                                                                            Government of the Commonwealth
      VEGA ALTA, PR00692                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
534   VAZQUEZ GONZALEZ, WANDA I.                                                              6/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75092             Undetermined*
      4103 VEREDAS DEL LAUREL
      COTO LAUREL, PR 00780-3010

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
535   VÁZQUEZ MALDONADO, JOSE A                                                               6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    54158             Undetermined*
      PO BOX 83
      JAYUYA, PR 00664

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
536   VAZQUEZ MARRERO, JAIME                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66069             Undetermined*
      RR 01 BOX 12469
      TOA ALTA, PR00953

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
537   VAZQUEZ MARRERO, JOSEFINA                                                                8/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    158924            Undetermined*
      HC-71 BOX 2705
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
538   VAZQUEZ MARRERO, MARIA T                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    85264             Undetermined*
      PO BOX 421
      CARR.172 KM.5 HM.0 INTERIOR BO.
      COMERIO, PR 00782

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 82 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
539   VAZQUEZ MARRERO, MARIA T.                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    86322             Undetermined*
      CARR. 172 KM 5.0 INTERIOR BO. VEGA REDONDA
      PO BOX 421
      COMERIO, PR 00782

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
540   VAZQUEZ MARRERO, VILMA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64524             Undetermined*
      CALLE 13 N-26 BAYAMON GARDENS
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
541   VAZQUEZ MARRERO, VILMA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79477             Undetermined*
      CALLE 13 N-26 BAYAMON GARDENS
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
542   VAZQUEZ MARRERO, VILMA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62944             Undetermined*
      CALLE 13 N-26 BAYAMON GARDENS
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
543   VAZQUEZ MARRERO, VILMA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76530             Undetermined*
      CALLE 13 N-26
      BAYAMON GARDENS
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
544   VAZQUEZ MARTINEZ, EDGAR E                                                                7/7/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    107757                $ 21,600.00
      URBANIZACION JARDINES DE MONTE BRISAS V
      CALLE 5-20 #5Z16
      FAJARDO, PR 00738

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
545   VAZQUEZ MARTINEZ, JESUSA                                                                5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    48440                 $ 20,000.00
      HC 7 BOX 32868
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 83 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
546   VAZQUEZ MARTINEZ, JOSE A                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    149434            Undetermined*
      HC 03 BOX 11965
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
547   VAZQUEZ MARTINEZ, JUANA                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66033             Undetermined*
      HC 7 BOX 3498
      PONCE, PR 00731-9668

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
548   VÁZQUEZ MARTÍNEZ, JUANA                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67461             Undetermined*
      HC 7 BOX 3498
      PONCE, PR 00731-9668

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
549   VAZQUEZ MARTINEZ, NOEMI                                                                 6/28/2018      17 BK 03566-LTS Employees Retirement System of the             59156             Undetermined*
      HC 75 BOX 1357                                                                                                         Government of the Commonwealth
      NARANJITO, PR 00719-9529                                                                                               of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
550   VAZQUEZ MARTINEZ, SARA MYRIAM                                                           6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61501                $ 36,000.00*
      127 CALLE AMAPOLA
      URB. JARDINES DE NARANJITO
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
551   VAZQUEZ MARTINEZ, SARA MYRIAM                                                           6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64040                $ 36,000.00*
      127 CALLE AMAPOLA
      URB. JARDINES DE NARANJITO
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 84 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
552   VAZQUEZ MARTINEZ, SARA MYRIAM                                                           6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    60793                $ 36,000.00*
      127 CALLE AMAPOLA
      URB. JARDINES DE NARANJITO
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
553   VAZQUEZ MARTINEZ, SARA MYRIAM                                                           6/28/2018      17 BK 03566-LTS Employees Retirement System of the             62864                $ 36,000.00*
      127 CALLE AMAPOLA                                                                                                      Government of the Commonwealth
      URB. JARDINES DE NARANJITO                                                                                             of Puerto Rico
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
554   VAZQUEZ MC LEAR, CARMEN                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61908             Undetermined*
      CALLE 23 #164 PONCE DE LEON
      GUAYNABO, PR 00969

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
555   VAZQUEZ MELENDEZ, ILIABEL                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77015             Undetermined*
      1248 BACHMANN AVE
      DELTONA, FL 32725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
556   VAZQUEZ MONTALVO, SAIDA JOSEFINA                                                        6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    125914            Undetermined*
      URB, ESTABCUAS DE YAUCO
      CALLE TURQUESA J7
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
557   VAZQUEZ NEGRÓN, CARMEN                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67512                 $ 10,000.00
      5 TURQUESA ST. BAJOS
      HUMACAO, PR 00791

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 85 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
558   VAZQUEZ NEGRON, MILKA SOCORRO                                                           6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68066                 $ 10,000.00
      HOGAR MANUEL MEDIAVILLA
      119 CALLE ROSALINDA APT. 323
      HUMACAO, PR 00791

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
559   VAZQUEZ NIEVES, AIDA                                                                    6/29/2018      17 BK 03566-LTS Employees Retirement System of the             93753             Undetermined*
      URB. RECVILLE                                                                                                          Government of the Commonwealth
      A-14 CALLE PARDO                                                                                                       of Puerto Rico
      BAYAMÓN, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
560   VÁZQUEZ NIEVES, AIDA                                                                    6/29/2018      17 BK 03566-LTS Employees Retirement System of the             76878             Undetermined*
      A-14 CALLE PARDO                                                                                                       Government of the Commonwealth
      UR. REXVILLE                                                                                                           of Puerto Rico
      BAYAMÓN, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
561   VAZQUEZ NIEVES, GLADYS M.                                                               6/29/2018      17 BK 03566-LTS Employees Retirement System of the             85707             Undetermined*
      PO BOX 4511                                                                                                            Government of the Commonwealth
      SAN SEBASTIAN, PR 00685                                                                                                of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
562   VAZQUEZ ORTEGA , CARMEN A                                                                7/8/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    102827                $ 10,000.00
      CALLE LAGO CAONILLAS DF-26 LEVITTOWN
      TOA BAJA, PR 00949

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
563   VAZQUEZ ORTEGA, MILAGROS                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79994             Undetermined*
      URB. REPTO ALHABRA E-112 ASTURIAS
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 86 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
564   VAZQUEZ ORTEGA, ORLANDO L.                                                              6/19/2018      17 BK 03566-LTS Employees Retirement System of the             28892                 $ 52,874.15
      HC 1 BOX 7216                                                                                                          Government of the Commonwealth
      SECTOR LOS DÍAZ                                                                                                        of Puerto Rico
      TOA BAJA, PR 00949

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
565   VAZQUEZ PAGAN, MARISOL                                                                  6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    53219             Undetermined*
      URB LAS DELICIAS
      CALLE FIDELA MATHEW #4022
      PONCE, PR 00728

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
566   VAZQUEZ PANTOJAS, MARITZA A.                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65417             Undetermined*
      HC-01 BOX 11469
      CAROLINA, PR 00987

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
567   VAZQUEZ PEREZ, ODILA                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    144469            Undetermined*
      B 23 URB. SAN RAMON
      SAN GERMAN, PR 00683

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
568   VAZQUEZ PEREZ, ODILA                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    146296            Undetermined*
      B23 URB. SAN RAMON
      SAN GERMAN, PR 00683

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
569   VAZQUEZ RAMOS, EDNA                                                                     6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55603             Undetermined*
      PO BOX 1406
      SECTOR LOS FIGUEROA
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 87 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
570   VAZQUEZ RAMOS, EDNA                                                                     6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62249             Undetermined*
      PO BOX 1406
      OROCOVIS, PR 00720

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
571   VAZQUEZ RIVERA, OLGA L.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    89728             Undetermined*
      COUNTRY CLUB CALLE 538 QP - 9
      CAROLINA, PR 00982

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
572   VAZQUEZ RIVERA, OLGA L.                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             91943             Undetermined*
      COUNTRY CLUB CALLE 538 QP-9                                                                                            Government of the Commonwealth
      CAROLINA, PR 00982                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
573   VAZQUEZ RODRIGUEZ, ANGEL R                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83312             Undetermined*
      URBANIZACION VILLA SULTANITA CALLE17
      CASA 491
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
574   VAZQUEZ RODRIGUEZ, JOSE                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    50596                 $ 75,000.00
      4958 SANTA PAULA
      URB.SANTA TERESITA
      PONCE, PR 00730-4527

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
575   VAZQUEZ SANTANA, GLORIA                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64075             Undetermined*
      URB GOLDEN HILLS 1464
      CALLE PLUTON
      DORADO, PR 00646

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 88 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
576   VAZQUEZ SERRANO, ADA L.                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    45567             Undetermined*
      P.O. BOX 2463
      GUAYAMA, PR 00784

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
577   VAZQUEZ SEVILLA, GLYMARI                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    162512            Undetermined*
      COND VERDE LUZ APT. 107
      VEGA ALTA, PR00692

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
578   VAZQUEZ SILVA, LINNETTE                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61216             Undetermined*
      CALLE 15 N 14
      CASTELLA GARDENS
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
579   VAZQUEZ SILVA, LINNETTE                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76005             Undetermined*
      CALLE 15 N 14
      CASTELLANA GARDENS
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
580   VAZQUEZ SILVA, YESENIA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    82423                $ 20,000.00*
      HC-01 BOX 6525
      LAS PIEDRAS, PR 00771

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
581   VAZQUEZ URDANETA, CARLOS                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    99280             Undetermined*
      URB. PUERTO NUEVO
      APENINOS 525
      SAN JUAN, PR 00920

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
582   VAZQUEZ VALENTIN, LUZ C.                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    59182                 $ 11,416.50
      PO BOX 186
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 89 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
583   VAZQUEZ VAZQUEZ , ESPEDITO                                                              6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    37210                $ 36,000.00*
      HC-73 BOX 4773
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
584   VAZQUEZ VAZQUEZ, CARMEN LUZ                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    89333             Undetermined*
      PO BOX 157
      TOA ALTA, PR00954

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
585   VAZQUEZ VAZQUEZ, CARMEN M.                                                               7/2/2019      17 BK 03283-LTS Commonwealth of Puerto Rico                    169526            Undetermined*
      RR 2 BUZON 6865
      GUAYAMA, PR 00784

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
586   VAZQUEZ VAZQUEZ, CARMEN M.                                                               7/2/2019      17 BK 03283-LTS Commonwealth of Puerto Rico                    169558            Undetermined*
      RR 2 BUZON 6885
      GUAYAMA, PR 00784

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
587   VAZQUEZ VAZQUEZ, ESPEDITO                                                               6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57060                 $ 36,000.00
      HC-73 BOX 4773
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
588   VAZQUEZ VAZQUEZ, ESPEDITO                                                               6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56082                $ 36,000.00*
      HC-73 BOX 4773
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
589   VAZQUEZ VAZQUEZ, ESPEDITO                                                               6/27/2018      17 BK 03566-LTS Employees Retirement System of the             56372                $ 36,000.00*
      HC-73 BOX 4773                                                                                                         Government of the Commonwealth
      NARANJITO, PR 00719                                                                                                    of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 90 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
590   VAZQUEZ VAZQUEZ, GLADYS                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56098                $ 36,000.00*
      HC 73 BOX 4773
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
591   VAZQUEZ VAZQUEZ, HECTOR LUIS                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56955                $ 45,000.00*
      7-4 C-16
      URB. MIRAFLORES
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
592   VAZQUEZ VAZQUEZ, HECTOR LUIS                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66943                $ 45,000.00*
      7-4 C-16
      URB. MIRAFLORES
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
593   VAZQUEZ VAZQUEZ, HECTOR LUIS                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66741                $ 45,000.00*
      7-4 C-16
      URB. MIRAFLORES
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
594   VAZQUEZ VAZQUEZ, HECTOR LUIS                                                            6/28/2018      17 BK 03566-LTS Employees Retirement System of the             71051                 $ 45,000.00
      7-4 C-16                                                                                                               Government of the Commonwealth
      URB. MIRAFLORES                                                                                                        of Puerto Rico
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
595   VAZQUEZ VAZQUEZ, LUIS                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79536             Undetermined*
      PO BOX 1359
      MOCA, PR 00676

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 91 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
596   VÁZQUEZ VÁZQUEZ, LUZ C.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71738             Undetermined*
      URB. ARROYO DEL MAR #204
      CALLE CARIBE
      ARROYO, PR 00714

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
597   VAZQUEZ VAZQUEZ, LUZ D.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64574             Undetermined*
      HC91 BNZ 8924
      VEGA ALTA, PR00692

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
598   VAZQUEZ VAZQUEZ, RENE                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    95104             Undetermined*
      HC-1 BO. 6577
      ARROYO, PR 00714

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
599   VÁZQUEZ VÁZQUEZ, SHARNHA LEE                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66609             Undetermined*
      #F20 CALLE 4 URB. BELLO HORIZONTE
      GUAYAMA, PR 00784

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
600   VÁZQUEZ VÁZQUEZ, SHARNHA LEE                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65560             Undetermined*
      #F20 CALLE 4 URB. BELLO HORIZONTE
      GUAYAMA, PR 00784

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
601   VAZQUEZ VAZQUEZ, VILMA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69655             Undetermined*
      URB. LAS ALONDRAS
      CALLE 8 G-4
      VILLALBA, PR 00766

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
602   VAZQUEZ VIROLA, CARLOS                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80043             Undetermined*
      URB BRISAS DE LAUREL
      435 CALLE DIAMANTE
      COTO LAUREL, PR 00780

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 92 of 136
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                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
603   VÁZQUEZ VIROLA, CARLOS                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80548             Undetermined*
      BRISAS DE LAUREL #435 CALLE DIAMANTE
      COTO LAUREL
      PONCE, PR 00780

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
604   VAZQUEZ, GLADYS VAZQUEZ                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57521                $ 36,000.00*
      HC-73 BOX 4773
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
605   VAZQUEZ, GLADYS VAZQUEZ                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56784                $ 36,000.00*
      HC-73 BOX 4773
      NARANJITO, PR 00719

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
606   VAZQUEZ, GLADYS VAZQUEZ                                                                 6/28/2018      17 BK 03566-LTS Employees Retirement System of the             63521                $ 36,000.00*
      HC-73 BOX 4773                                                                                                         Government of the Commonwealth
      NARANJITO, PR 00719                                                                                                    of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
607   VAZQUEZ, JOSE                                                                           6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    82492             Undetermined*
      URB. ALTURAS DE VILLALBA#247
      VILLALBA, PR 00766

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
608   VAZQUEZ, LYMARIS                                                                        6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62336                 $ 15,000.00
      HC 5 BOX 92055
      ARECIBO, PR 00612

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
609   VAZQUEZ, RAMON ARNALDO                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65055             Undetermined*
      URB. VILLA ORIENTE
      A-50
      HUMACAO, PR 00792

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 93 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
610   VEGA ALVAREZ, CANDIDA                                                                   6/26/2018      17 BK 03566-LTS Employees Retirement System of the             39560                   $ 125.00*
      BO SANTA OLAYA                                                                                                         Government of the Commonwealth
      1312RR4                                                                                                                of Puerto Rico
      BAYAMON, PR 00956

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
611   VEGA ARROYO, LUIS                                                                       6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75264             Undetermined*
      HC 01 BOX 4834
      LAJAS, PR 00667

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
612   VEGA BORGES, VIRGEN M                                                                   6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57565                 $ 75,000.00
      EXT. PUNTO ORO #4736 CALLE LA PINTA
      PONCE, PR 00728

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
613   VEGA BORGOS , VIRGEN M.                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58037                 $ 75,000.00
      EXT. PUNTO ORO # 4736 CALLE LA PINTA
      PONCE, PR 00728

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
614   VEGA BORGOS, VIRGEN M.                                                                  6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    47765                 $ 75,000.00
      EXT. PUNTO ORO 4736 CALLE LA PINTA
      PONCE, PR 00728

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
615   VEGA BORGOS, VIRGEN M.                                                                  6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57405                 $ 75,000.00
      EXT. PUNTO ORO #4736 CALLE LA PINTA
      PONCE, PR 00728

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
616   VEGA BORGOS, VIRGEN M.                                                                  6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56885                 $ 75,000.00
      EXT. PUNTO ORO #4736 CALLE LA PINTA
      PONCE, PR 00728

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 94 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
617   VEGA BRACEN, ANGEL A.                                                                    7/6/2018      17 BK 03566-LTS Employees Retirement System of the             144122            Undetermined*
      HC - 02 44248                                                                                                          Government of the Commonwealth
      VEGA BAJA, PR 00693-9628                                                                                               of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
618   VEGA CABALLERO, BRUNILDA                                                                6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    53917             Undetermined*
      HACIENDA FLORIDA
      485 CALLE GERANIO
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
619   VEGA CEDENO , JAVIER                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69898                    $ 849.00
      URB LAUREL SUR
      1210 CALLE TORDO
      COTO LAUREL, PR 00780

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
620   VEGA CENTENO, MARIA DEL ROSARIO                                                         6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56749             Undetermined*
      PO BOX 1170
      BO PALMAREJO
      CARR.702 KM 4.7
      COAMO, PR 00769

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
621   VEGA CENTENO, MARIA DEL ROSARIO                                                         6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    53542             Undetermined*
      PO BOX 1170
      COAMO, PR 00769

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
622   VEGA CHAPARRO, ELSA I                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68101                  $ 5,000.00
      URB. SAN CRISTOBAL C2
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 95 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
623   VEGA COLLAZO, ADA LILIA                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    162349            Undetermined*
      BOX 669
      JAYUYA, PR 00664

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
624   VEGA COLLAZO, ADA LILIA                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    162350            Undetermined*
      BOX 669
      JAYUYA, PR 00664

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
625   VEGA CRESPI, MIGDALIA                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    90174                 $ 16,800.00
      HC 02 BOX 7796-1
      BARCELONETA, PR 00617

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
626   VEGA CRUZ, HIRAM                                                                        6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76627             Undetermined*
      BOX 145
      SANTA ISABEL, PR 00757

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
627   VEGA DE JESÚS, IVÁN                                                                     6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67982             Undetermined*
      P.O. BOX 10556
      PONCE, PR 00730-1556

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
628   VEGA DÍAZ, MADELINE                                                                     6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49615             Undetermined*
      CALLE CEDRO NÚM. 145
      HACIENDA MI QUERIDO VIEJO
      DORADO, PR 00646

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
629   VEGA DONCELL, CECIAH                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    93717             Undetermined*
      1458 BO. ESPINAL
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 96 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
630   VEGA ECHEVARRIA, MELEDY                                                                  7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69992             Undetermined*
      HC 4 BOX 55201
      MOROVIS, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
631   VEGA ECHEVARRIA, MELEDY                                                                  7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    110039            Undetermined*
      HC 4 BOX 55201
      MOROVIS, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
632   VEGA ECHEVARRIA, MELEDY                                                                  7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    94547             Undetermined*
      HC 4 BOX 55201
      MOROVIS, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
633   VEGA FELICIANO, HERIBERTO                                                               6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    35008             Undetermined*
      CALLE NUEVA VIDA
      APARTADO2144
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
634   VEGA FELICIANO, HERIBERTO                                                               6/22/2018      17 BK 03566-LTS Employees Retirement System of the             33049             Undetermined*
      CALLE NUEVA VIDA                                                                                                       Government of the Commonwealth
      APARTADO2144                                                                                                           of Puerto Rico
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
635   VEGA GARCIA, CARMEN L                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    67079             Undetermined*
      PO BOX 265
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
636   VEGA GARCIA, REBECA                                                                     6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72462             Undetermined*
      EXT STA TERESITA CALLE SANTA ALODIA3851
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 97 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
637   VEGA GERENA, NYDIA IVETTE                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    85464             Undetermined*
      P.O. BOX 361022
      SAN JUAN, PR 00936-1022

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
638   VEGA GONZALEZ , IRIS Y.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79518             Undetermined*
      C-25 URB. MENDEZ
      YABUCOA, PR 00767-3907

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
639   VEGA GONZALEZ, GLORIA                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69684             Undetermined*
      CASES BAENA 456 SAN JOSE
      SAN JUAN, PR 00923

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
640   VEGA GONZALEZ, GLORIA                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83468             Undetermined*
      CASES BAENA 456 SAN JOSE
      SAN JUAN, PR 00923

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
641   VEGA GONZALEZ, GLORIA                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83554             Undetermined*
      CASES BAENA 456 SAN JOSE
      SAN JUAN, PR 00923

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
642   VEGA GONZALEZ, GLORIA                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    84443             Undetermined*
      CASES BAENA
      456 SAN JOSE
      SAN JUAN, PR 00923

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
643   VEGA GONZALEZ, MYRIAM                                                                   6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55366             Undetermined*
      EXT.VILLA DE ESPANA
      219 CALLE BARCELONA
      ISABELA, PR 00662

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 98 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
644   VEGA GONZALEZ, MYRIAM                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77116             Undetermined*
      EXT.VILLA ESPAÑA219 CALLE BARCELONA
      ISABELA, PR 00662

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
645   VEGA GONZALEZ, ZAIDA                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61704             Undetermined*
      COND. LOS ROBLES APT. 805 TORRE A
      SAN JUAN, PR 00927

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
646   VEGA HERNANDEZ, ANGEL LUIS                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69028             Undetermined*
      P.O. BOX 1020
      LAJAS, PR 00667

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
647   VEGA IRIZARRY, CARMEN I                                                                  7/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    91630             Undetermined*
      I26 CALLE AYMANIO
      URB PARQUE LAS HACIENDAS
      CAGUAS, PR 00727

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
648   VEGA LOPEZ, CARLOS                                                                      6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72815             Undetermined*
      200 # 21 CALLE 532
      VILLA CAROLINA
      CAROLINA, PR 00985

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
649   VEGA LOPEZ, CARLOS                                                                      6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72927             Undetermined*
      200 #21 CALLE 532
      VILLA CAROLINA
      CAROLINA, PR 00985

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
650   VEGA LUGO, NYDIA E                                                                      6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79348             Undetermined*
      CALLE GUANABANA 3707
      COTO LAUREL, PR 00780

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 99 of 136
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                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
651   VEGA LUGO, NYDIA E.                                                                     6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80857             Undetermined*
      CALLE GUANABANA 3707
      COTO LAUREL, PR 00780

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
652   VEGA MARTINEZ, CARMEN L.                                                                6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55398             Undetermined*
      PO BOX 505
      GARROCHALES, PR 00652-0505

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
653   VEGA NAZARIO, ANA                                                                       6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    94713             Undetermined*
      HC 03 BOX 14196
      UTUADO, PR 00641

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
654   VEGA NEGRON, GILMARY                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    147547            Undetermined*
      609 AVE TITO CASTRO SUITE 102 PMB 572
      PONCE, PR 00716

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
655   VEGA NEGRÓN, LIONEL E.                                                                  6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    54583             Undetermined*
      PO BOX 1536
      JUANA DÍAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
656   VEGA NEVAREZ, CARMEN M.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    91955                 $ 75,000.00
      CALLE MARCELINO ROSADO A-21
      COLINAS DE COROZAL
      COROZAL, PR 00783

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
657   VEGA ORTIZ , NORMA I.                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78520             Undetermined*
      HC 01 BOX 6560
      LAS PIEDRAS, PR 00771

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 100 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
658   VEGA ORTIZ, ANTONIO                                                                      7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    131803                $ 13,200.00
      BOX 6186
      MAYAGUEZ, PR 00681

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
659   VEGA ORTIZ, EDGARDO                                                                     6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51760             Undetermined*
      HC-02 BOX 6266
      GUAYANILLA, PR 00656-9708

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
660   VEGA QUIJANO, CARMEN JUDITH                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78030             Undetermined*
      HC 03 BOX 12904
      CAMUY, PR 00627

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
661   VEGA QUIÑONEZ, JUAN E                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78820             Undetermined*
      ROTARIO #73
      ISABELA, PR 00662

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
662   VEGA QUINONEZ, JUAN E.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78072             Undetermined*
      ROTARIO #73
      ISABELA, PR 00662

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
663   VEGA QUIÑONEZ, JUAN E.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71625             Undetermined*
      ROTARIO #73
      ISABELA, PR 00662

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
664   VEGA RIVERA, ANGEL M.                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71238             Undetermined*
      P.O. BOX 525
      YABUCOA, PR 00767

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 101 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
665   VEGA RIVERA, FELIX A                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    130923            Undetermined*
      91 RUBI URB FREIRE
      CIDRA, PR 00739-3142

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
666   VEGA RIVERA, FELIX A.                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    132344            Undetermined*
      91 RUBI URB. FREIRE
      CIDRA, PR 00739-3142

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
667   VEGA ROBLES, JOSUE C                                                                    6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    54485             Undetermined*
      HC-4 BOX 55308
      MOROVIS, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
668   VEGA RODRIGUEZ, ANNETTE M                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    99836             Undetermined*
      CALLE 3 B16
      URB REXVILLE
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
669   VEGA RODRIGUEZ, SANDRA                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73769             Undetermined*
      URB. COLINAS DE HATILLO
      BUZON 20
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
670   VEGA RODRIGUEZ, SANDRA                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73252             Undetermined*
      URB. COLINAS DE HATILLO
      BUZON 20
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
671   VEGA SAEZ, ROSA J                                                                       6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78977             Undetermined*
      P.O. BOX 138
      SABANA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 102 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
672   VEGA SAEZ, ROSA J.                                                                      6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75729             Undetermined*
      P. O. BOX 138
      SABANA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
673   VEGA SAGARDIA, WENDELL                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    107709            Undetermined*
      URB. SANTA ELENA
      C-10 CALLE ALGARROBA
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
674   VEGA SAGARDIA, WENDELL                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74515             Undetermined*
      URB. SANTA ELENA
      C-10 CALLE ALGARROBA
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
675   VEGA SAGARDIA, WENDELL                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    90221             Undetermined*
      URB. SANTA ELENA
      C-10 CALLE ALGARROBA
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
676   VEGA SANTIAGO, AILSA                                                                     7/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    98449             Undetermined*
      URB. LAS ARBOLEDA CALLE 17, CASA 166
      SALINAS, PR 00751

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
677   VEGA SANTIAGO, AILSA                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    84168             Undetermined*
      URB. LA ARBOLEDA CALLE 17, CASA 166
      SALINAS, PR 00751

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
678   VEGA SANTIAGO, AILSA                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    84921             Undetermined*
      URB. LA ARBOLEDA CALLE 17, CASA 166
      SALINAS, PR 00751

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 103 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
679   VEGA SANTIAGO, AILSA                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    87949             Undetermined*
      URB. LA ARBOLEDA
      CALLE 17, CASA 166
      SALINAS, PR 00751

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
680   VEGA SANTIAGO, AILSA                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    88428             Undetermined*
      URB. LA ARBOLEDA CALLE 17, CASA 166
      SALINAS, PR 00751

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
681   VEGA SANTIAGO, IRIS N.                                                                   7/2/2019      17 BK 03283-LTS Commonwealth of Puerto Rico                    169529            Undetermined*
      2DA EXT. PUNTO ORO AVE. INTERIOR6712
      PONCE, PR 00728-2423

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
682   VEGA SANTIAGO, MIGUEL                                                                   5/11/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    11899                 $ 14,400.00
      3407 CALLE JUAN JULIO BURGOS
      PONCE, PR 00728-4944

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
683   VEGA SANTIAGO, RAMON A.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    84803             Undetermined*
      APARTADP616
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
684   VEGA SOTO, CARMEN L                                                                     6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    98435             Undetermined*
      PO BOX 647
      AGUADILLA, PR 00605-0647

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
685   VEGA SOTO, CARMEN L.                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    91151             Undetermined*
      PO BOX 647
      AGUADILLA, PR 00605

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 104 of 136
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                                                                     Ninety-Second Omnibus Objection
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                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
686   VEGA SOTO, VIVIANA                                                                      6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    97134             Undetermined*
      PO BOX 11
      SANTA ISABEL, PR 00757

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
687   VEGA TOSADO, MARÍA M.                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the             48370             Undetermined*
      JARDINES DE COUNTRY CLUB                                                                                               Government of the Commonwealth
      CALLE 41 AK-9                                                                                                          of Puerto Rico
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
688   VEGA VEGA, ADALI                                                                        6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56203             Undetermined*
      HC-03 BOX 14779
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
689   VEGA VEGA, DAMARIS                                                                      6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    86135                $ 60,000.00*
      8 CALLE PALMA REAL
      COROZAL, PR 00783

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
690   VEGA VELEZ, MIRTA                                                                       6/29/2018      17 BK 03566-LTS Employees Retirement System of the             74667             Undetermined*
      CALLE CARMEN MERCADO #17                                                                                               Government of the Commonwealth
      MOCA, PR 00676                                                                                                         of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
691   VEGA VIDAL, MAGDA                                                                       6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    52756             Undetermined*
      URB. LAUREL SUR
      CALLE MOZAMBIQUE 6012
      COTO LAUREL, PR 00780

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 105 of 136
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                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
692   VEGA VIDRO, ILEANA                                                                      6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    52030             Undetermined*
      B-1 SABANA CALLE PUERTO RICO
      SABANA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
693   VEGA VIDRO, LESBIA E                                                                    6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56860             Undetermined*
      RES SABANA
      CALLE PR B1
      SABANA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
694   VEGA VILARINO, RUBEN R                                                                  6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75929             Undetermined*
      URB LAS DELICIAS
      CALLE SANTIAGO OPPENHEIMER 1545
      PONCE, PR 00728

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
695   VEGA VILLAVICENCIO, MARY R.                                                             6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    42600                  $ 7,000.00
      HC 83 BUZÓN 6585
      VEGA ALTA, PR00692-9710

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
696   VEGA, CARMEN                                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51863             Undetermined*
      7 CALLE FERNANDO RODRIGUEZ
      ADJUNTAS, PR 00601

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
697   VEGA, JUAN A                                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80339             Undetermined*
      HC03 BOX 10667
      JUANA DIAZ, PR 00795

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
698   VEGUILLA FIGUEROA, VICTOR J                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70062                 $ 21,600.00
      HC 64 BOX 7021
      PATILLAS, PR 00723

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 106 of 136
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                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
699   VEGUILLA FIGUEROA, VICTOR MANUEL                                                        6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    85242             Undetermined*
      HC64 BOX 7021
      PATILLAS, PR 00723

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
700   VELASCO MARTIR, SUSANA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    89900             Undetermined*
      SANTA RITA II
      SAN ANTONIO # 1007
      JUANA DIAZ, PR 00780-2862

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
701   VELASCO MARTIR, SUSANA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    136083            Undetermined*
      SAN ANTONIO 100 SANTA RITA II
      JUANA DIAZ, PR 00780

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
702   VELASCO MARTIR, SUSANA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    158158            Undetermined*
      1007 SAN ANTONIO
      SANTA RITA II, PR00780-2862

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
703   VELAZQUEZ , GLADY M.                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76401             Undetermined*
      CALLE 31 EE 10
      JARDINES DEL CARIBE
      PONCE, PR 00728

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
704   VELAZQUEZ ACOSTA, MARIEL                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    138040            Undetermined*
      CALLE AGUEYBANA #6
      URB PONCE DE LEON
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
705   VELÁZQUEZ BATISTA, ROSA MARÍA                                                           6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    81281                 $ 52,338.42
      PO BOX 254
      COAMO, PR 00769

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 107 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
706   VELAZQUEZ CALDERON, WILFREDO                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    79344             Undetermined*
      PO BOX 363
      LOIZA, PR 00772

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
707   VELAZQUEZ CALDERON, WILFREDO                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    91093             Undetermined*
      PO BOX 363
      LOIZA, PR 00772

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
708   VELAZQUEZ CARABALLO, LUIS A.                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    143432            Undetermined*
      PO BOX 561266
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
709   VELAZQUEZ CARABALLO, OLGA I                                                              6/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    30702                 $ 17,400.00
      BO MAGINAS
      105 CALLE PAPAYO
      SABANA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
710   VELAZQUEZ CAUSSADE, VICTOR                                                              5/16/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    17945                $ 40,000.00*
      ISRAEL ROLDAN
      35 CALLE PROGRESO
      AGUADILLA, PR 00603-5016

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
711   VELAZQUEZ CORRERA, ORLANDO                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76874             Undetermined*
      924 CALLE MUÑOZ RIVERA
      PEÑUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
712   VELAZQUEZ DE JESUS , ZULMA A.                                                           6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68087             Undetermined*
      URB. MARIOLGA CALLE SAN JOAQUIN V-9
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 108 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
713   VELAZQUEZ DEFENDINI, JOSE A.                                                            6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56776             Undetermined*
      P.O. BOX 206
      PATILLAS, PR 00723

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
714   VELAZQUEZ ECHEVARNA, DIGNA I.                                                           6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    98284                 $ 75,000.00
      HC 01 BOX 6751
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
715   VELAZQUEZ ECHEVARRIA, DIGNA I.                                                          6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    92355                 $ 75,000.00
      HC 01 BOX 6751
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
716   VELAZQUEZ FELICIANO, CRISTINA DE LOS ANGELES                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75285                       $ 2.00
      URBANIZATION HACDA LA MATILDE
      CALLE BAGAZO 5391
      PONCE, PR 00728

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
717   VELAZQUEZ FIGUEROA, MYRNA L.                                                            6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55150                  $ 9,000.00
      HC 6 BOX 12115
      SAN SEBASTIAN, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
718   VELÁZQUEZ FIGUEROA, MYRNA L.                                                            6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56365                 $ 2,400.00*
      HC 6 BOX 12115
      SAN SEBASTIÁN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
719   VELAZQUEZ FLORES, IVELISSE                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72649             Undetermined*
      HC-02 BOX 7165
      LAS PIEDRAS, PR 00771

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 109 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
720   VELAZQUEZ FLORES, MARINA                                                                 7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    46993             Undetermined*
      P.O. BOX. 20477
      SAN JUAN, PR 00928

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
721   VELAZQUEZ GERMAIN, MARTHA                                                               6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    47444             Undetermined*
      URB. VALLE COSTERO
      3855 CALLE ALGAS
      SANTA ISABEL, PR 00757

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
722   VELAZQUEZ GERMAIN, MARTHA H.                                                            6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    46528             Undetermined*
      3855 CALLE ALGAS
      URB. VALLE COSTERO
      SANTA ISABEL, PR 00757-3220

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
723   VELAZQUEZ GONZALEZ, LUZ                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58996             Undetermined*
      HC#1 BOX 4401
      YABUCOA, PR 00767

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
724   VELAZQUEZ GONZALEZ, MAIDA L                                                             5/16/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    15381                 $ 6,000.00*
      2264 TURIN
      VILLA DEL CARMEN
      PONCE, PR 00716-2215

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
725   VELAZQUEZ GOTAY , MARITERE                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56152             Undetermined*
      501 CALLE MODESTA APT 209
      SAN JUAN, PR 00924-4504

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
726   VELAZQUEZ GOTAY, MARITERE                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    59939             Undetermined*
      501 CALLE MODESTA APT 209
      SAN JUAN, PR 00924-4504

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 110 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
727   VELAZQUEZ GUTIEREZ, ANDRES J.                                                            7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    159262                $ 25,000.00
      URB. PASEO LA CEIBA-47 JAGUAY
      HORMIGUEROS, PR 00660-8806

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
728   VELÁZQUEZ HERNÁNDEZ, ELIA I                                                             6/29/2018      17 BK 03566-LTS Employees Retirement System of the             100094            Undetermined*
      P.O BOX 9631                                                                                                           Government of the Commonwealth
      CIDRA, PR 00739                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
729   VELAZQUEZ LOPEZ, JOSE F                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    101532            Undetermined*
      VEREDA DE LAS TRINITRIAS
      278
      GURABO, PR 00778

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
730   VELAZQUEZ LOPEZ, VIRGINIA                                                               6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76023             Undetermined*
      26 CALLE LA CAOBA
      JUANA DIAZ, PR 00795-2802

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
731   VELAZQUEZ MARTINEZ, EVA I.                                                              6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    41026                 $ 10,200.00
      P O BOX 148
      LAJAS, PR 00667

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
732   VELAZQUEZ PACHECO MIGUEL                                                                6/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68557             Undetermined*
      URB MARIANI CALLE MANUEL Z. GANDIA # 7652
      PONCE, PR 00987

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
733   VELAZQUEZ PACHECO MIGUEL                                                                6/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68561             Undetermined*
      URB MARIANI CALLE MANUEL Z. GANDIA # 7652
      PONCE, PR 00717

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 111 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
734   VELAZQUEZ PACHECO, MIGUEL                                                               6/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68565             Undetermined*
      URB. MARIANI CALLE MANUEL Z GANDIA #7652
      PONCE, PR 00717

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
735   VELAZQUEZ PACHECO, MIGUEL                                                               6/30/2018      17 BK 03566-LTS Employees Retirement System of the             98756              $ 1,784,696.00
      URB MARIANI CALLE MANUEL Z. GANDIA #7652                                                                               Government of the Commonwealth
      PONCE, PR 00717                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
736   VELAZQUEZ PAGAN, INES M.                                                                6/29/2018      17 BK 03566-LTS Employees Retirement System of the             107600            Undetermined*
      CALLE 5 #106 JARDINES DEL CARIBE                                                                                       Government of the Commonwealth
      PONCE, PR 00728                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
737   VELAZQUEZ PEREZ, CARMEN L.                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58522             Undetermined*
      HC-2 5231
      PENUELAS, PR 00624-9673

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
738   VELÁZQUEZ PÉREZ, CARMEN L.                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51575             Undetermined*
      HC-02 5231
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
739   VELAZQUEZ RIVERA, INES                                                                  6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    86204             Undetermined*
      HC 38 BOX 7153
      GUANICA, PR 00653

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 112 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
740   VELAZQUEZ RODRIGUEZ, SANTOS                                                             6/27/2018      17 BK 03566-LTS Employees Retirement System of the             56407             Undetermined*
      HC 65 BOX 6346                                                                                                         Government of the Commonwealth
      PATILLAS, PR 00723                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
741   VELÁZQUEZ RODRÍGUEZ, SUGEILY                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73540             Undetermined*
      URB. VISTAS DEL RÍO #39 CALLE
      RÍO LA PLATA
      LAS PIEDRAS, PR 00771

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
742   VELAZQUEZ ROMAN , WANDA I                                                               6/26/2018      17 BK 03566-LTS Employees Retirement System of the             38561                 $ 75,000.00
      PO BOX 8713                                                                                                            Government of the Commonwealth
      HUMACAO, PR 00792                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
743   VELAZQUEZ ROMAN, JESUS M.                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51203             Undetermined*
      PO BOX 183
      CAMUY, PR 00627

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
744   VELÁZQUEZ SÁNCHEZ, DANNARIE                                                             6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    54660                 $ 2,700.00*
      CALLE 11 J-16 URB. MAGNOLIA GARDENS
      BAYAMÓN, PR 00956

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
745   VELAZQUEZ SANTIAGO, ELIZABETH                                                           6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83176                 $ 75,000.00
      CALLE JACHO 160
      URB. BORINQUEN VALLEY
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 113 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
746   VELAZQUEZ SANTIAGO, MARIA M.                                                            6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    44639             Undetermined*
      HC03 BOX 14251
      AGUAS BUENAS, PR 00703

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
747   VELAZQUEZ SANTIAGO, MARIA M.                                                            6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    53413             Undetermined*
      HC03 BOX 14251
      AGUAS BUENAS, PR 00703

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
748   VELAZQUEZ SANTIAGO, MARIA M.                                                            6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    53363             Undetermined*
      HC 03 BOX 14251
      AGUAS BUENAZ, PR 00703

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
749   VELAZQUEZ SANTIAGO, MARILYN                                                              7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    155148            Undetermined*
      HC 1 BOX 7595
      GUAYANILLA, PR 00656-9753

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
750   VELAZQUEZ SANTIAGO, MARILYN                                                              7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    155192            Undetermined*
      HC 1 BOX 7595
      GUAYANILLA, PR 00656-9753

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
751   VELAZQUEZ SANTIAGO, WANDA E                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61731             Undetermined*
      HC 03
      BOX 14251
      AGUAS BUENAS, PR 00703

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
752   VELAZQUEZ SANTIAGO, WANDA E.                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    44255             Undetermined*
      HC-03 BOX 14251
      AGUAS BUENA, PR 00703

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 114 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
753   VELAZQUEZ SANTIAGO, WANDA E.                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    60245             Undetermined*
      HC-03 BOX 14251
      AGUAS BUENAS, PR 00703

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
754   VELAZQUEZ SOTO, JORGE                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56876             Undetermined*
      HC-03 BOX 7713
      BUZON BARRIO MONTONES 2
      LAS PIEDRAS, PR 00771

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
755   VELAZQUEZ SOUCHET, EVA                                                                  6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58137             Undetermined*
      ALTURAS II
      14 P 1
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
756   VELAZQUEZ VALCARCEL, MARIANITA                                                          6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    98226             Undetermined*
      HC- 01 BOX 3376
      VILLALBA, PR 00766

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
757   VELAZQUEZ VEGA, EASLIA                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the             55021                 $ 83,000.00
      PO BOX 362                                                                                                             Government of the Commonwealth
      ARROYO, PR 00714                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
758   VELAZQUEZ VILLEGAS, SERGIO                                                              7/12/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    155661            Undetermined*
      URB. HILLSIDE
      4 CALLE RAFAEL VILLEGAS APARTADO#9
      SAN JUAN, PR 00926-5251

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 115 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
759   VELAZQUEZ, IRAIDA FRANCO                                                                 7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    165440            Undetermined*
      URB. LOMA ALTA
      CALLE 3 C-14
      CAROLINA, PR 00987

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
760   VELAZQUEZ-MORALES, NORA HILDA                                                           6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    66328             Undetermined*
      EXT. SAN ANTONIO 2553
      CALLE DAMASCO
      PONCE, PR 00728-1804

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
761   VÉLEZ ABRAMS, ANA M.                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    82965             Undetermined*
      HC 4 BOX 18156-A
      CAMUY, PR 00627

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
762   VELEZ ACOSTA, JAVIER                                                                     7/2/2018      17 BK 03566-LTS Employees Retirement System of the             68439             Undetermined*
      APTO. 651                                                                                                              Government of the Commonwealth
      LAJAS, PR 00667                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
763   VÉLEZ ACOSTA, JAVIER                                                                     7/3/2018      17 BK 03566-LTS Employees Retirement System of the             73074             Undetermined*
      APARTADO651                                                                                                            Government of the Commonwealth
      LAJAS, PR 00667                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
764   VELEZ ACOSTA, MILTON M.                                                                 6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    50570                 $ 4,800.00*
      HC 02 BOX 11227
      LAJAS, PR 00667

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 116 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
765   VELEZ ADAMES, CARMEN M                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    95381                 $ 25,000.00
      CALLE JOSSIE PEREZ P-45
      URB. VALLE TOLIMA
      CAGUAS, PR 00725

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
766   VELEZ ALVAREZ, MAYRA L.                                                                  7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    44877                    $ 600.00
      BOX 223
      UTUADO, PR 00641

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
767   VELEZ BAEZ, MIGDALIA                                                                    6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49118             Undetermined*
      URB. LA CONCEPCION 196
      CALLE NUESTRA SENORA DE FATIMA
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
768   VELEZ BONILLA, CELSA                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73403             Undetermined*
      URB. VISTAS DE
      MONTE SOL 550 CALLE NEPTUNO
      YAUCO, PR 00698-4183

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
769   VELEZ CAQUIAS, YVONNE                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    139511            Undetermined*
      CALLE HMNOS SCHMIDT
      448
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
770   VELEZ CARAZO, CARMEN L.                                                                 6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76197             Undetermined*
      URB. CONSTANCIA-3063-CALLE SOLLES
      PONCE, PR 00717-2215

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 117 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
771   VELEZ COLON, RAMON LUIS                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    50677             Undetermined*
      RES. BARINAS CALLE 2 F3
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
772   VELEZ CONCEPCION , MARIA TERESA                                                         6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    54032             Undetermined*
      124 RUTA 4
      ISABELA, PR 00662

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
773   VELEZ CONCEPCION, MARIA TERESA                                                          6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56261                  $ 2,000.00
      124 RUTA 4
      ISABELA, PR 00662

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
774   VELEZ CONCEPCION, MARIA TERESA                                                          6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56389             Undetermined*
      124 RUTA 4
      ISABELA, PR 00662

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
775   VELEZ CONCEPCION, MARIA TERESA                                                          6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56699                  $ 5,000.00
      124 RUTA 4
      ISABELA, PR 00662

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
776   VELEZ CORREA, CARLOS                                                                     7/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    105036            Undetermined*
      PO BOX 560028
      GUAYANILLA, PR 00656-0028

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
777   VELEZ CURBELO, JUAN A.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72579             Undetermined*
      #6048 CARR 113 N BO TERRANOVA
      QUEBRADILLAS, PR 00678

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 118 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
778   VELEZ CURBELO, JUAN A                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73478             Undetermined*
      #6046 CAR 113 N BO TERRANOVA
      QUEBRADILLAS, PR 00678

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
779   VELEZ CURBELO, JUAN A.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75538             Undetermined*
      #6046 CARR 113 N BO TERRANOVA
      QUEBRADILLAS, PR 00678

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
780   VELEZ DELGADO, HAYDEE                                                                    7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    92048             Undetermined*
      BALCONES DE MONTE REAL APT 5804
      CAROLINA, PR 00987

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
781   VELEZ DELGADO, MARIA                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71394             Undetermined*
      VILLA CAROLINA CALLE 513 BLOQ 206 NUM 9
      CAROLINA, PR 00985

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
782   VELEZ DIAZ, MARIA INES                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70764                 $ 8,000.00*
      #90 CALLE 5 URB. OREILLY
      GURABO, PR 00778

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
783   VELEZ ESCOBALES, MARIA DE L                                                             6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    54917                 $ 48,000.00
      URB. VILLA DOS RÍOS
      CALLE GUAMANÍ 2934
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
784   VÉLEZ FRANCO, DESIREÉ M.                                                                6/27/2018      17 BK 03566-LTS Employees Retirement System of the             54287             Undetermined*
      APTO 802 VILLA CAROLINA COURT AVE. CALDERON                                                                            Government of the Commonwealth
      CAROLINA, PR 00985                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 119 of 136
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                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
785   VELEZ GARCIA, CARMEN L.                                                                  7/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    134198                $ 9,600.00*
      PO BOX 1557
      LUQUILLO, PR 00773

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
786   VELEZ GOMEZ, JOHANNA                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72523             Undetermined*
      HC 06 BOX 15028
      COROZAL, PR 00783

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
787   VELEZ GONZALEZ , CARMEN L.                                                              6/29/2018      17 BK 03566-LTS Employees Retirement System of the             85215             Undetermined*
      ALTURAS DEL ROBLEGAL 15                                                                                                Government of the Commonwealth
      UTUADO, PR 00641                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
788   VELEZ GONZALEZ, CHARITO                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69854             Undetermined*
      17 CALLE PALMA REAL
      PENUELAS, PR 00624

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
789   VELEZ GONZALEZ, EDWIN                                                                    7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    165294                 $ 6,000.00
      PO BOX 1255
      AGUADA, PR 00602

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
790   VELEZ HERNANDEZ, NOEMI                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57958             Undetermined*
      URB. BALDORIOTY AVENIDA PARQUE#4608
      PONCE, PR 00728

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
791   VELEZ JIMÉNEZ, MYRNA                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61108             Undetermined*
      CALLE 27 AE 10 TOA ALTA HGTS
      TOA ALTA, PR00953

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 120 of 136
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                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
792   VELEZ LARA, CAROL ENID                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    84734             Undetermined*
      URB. BOSQUE REAL #92
      CIDRA, PR 00739

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
793   VELEZ LEBRON, ROSA M.                                                                   6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    44479             Undetermined*
      PMB 10 PO BOX 8901
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
794   VELEZ LEBRON, ROSA M.                                                                   6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    45065             Undetermined*
      PMB 10 PO BOX 8901
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
795   VÉLEZ LEBRÓN, ROSA M.                                                                   6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55419             Undetermined*
      PMB 10 PO BOX 8901
      HATILLO, PR 00659

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
796   VELEZ MARRERO, MARLIN Y                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74652             Undetermined*
      P.O BOX 1122
      MOROVIS, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
797   VELEZ MARRERO, MARLIN Y.                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76457             Undetermined*
      PO BOX 1122
      MOROVIS, PR 00687

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
798   VELEZ MARTINEZ, ANTONIO                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    53222             Undetermined*
      EXT. LAGO HORIZONTE PASEO
      LAGO GARZA #5506
      COTO LAUREL, PR 00780

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 121 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
799   VELEZ MARTINEZ, DORA E.                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    70255                 $ 14,400.00
      HC-01 BOX 4889
      CAMUY, PR 00627-9610

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
800   VELEZ MARTINEZ, MARIA I                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             145144            Undetermined*
      HC 09 BOX 3092                                                                                                         Government of the Commonwealth
      PONCE, PR 00731                                                                                                        of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
801   VELEZ MARTINEZ, RADAMES                                                                 6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51985             Undetermined*
      HC 1 BOX 6010
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
802   VELEZ MEDINA, NERMARIS E                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65977             Undetermined*
      URB. RIO GRANDE ESTATES
      C/ PRINCIPE ALBERTO #11613
      RIO GRANDE, PR 00745

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
803   VELEZ MEDINA, NERMARIS E                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80342             Undetermined*
      URB. RIO GRANDE ESTATES
      C/ PRINCIPE ALBERTO #11613
      RIO GRANDE, PR 00745

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
804   VELEZ MONTAIVO, ARNOLD                                                                   7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    134774            Undetermined*
      P.O. BOX 336
      SABANA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
805   VELEZ MONTALVO, ARNOLD                                                                   7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    146282            Undetermined*
      PO BOX 336
      SABANA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 122 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
806   VELEZ NIEVES, SHEILA Y                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76998                  $ 9,500.00
      834 CALLE ANASCO
      CONDOMINIO PUERTA REAL APTO108
      SAN JUAN, PR 00925

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
807   VELEZ OCASIO, CARMEN G.                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    63019                 $ 15,600.00
      SABANA GARDENS CALLE 10 BLOG 10 #5
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
808   VELEZ ORTIZ, AIDITA                                                                     6/29/2018      17 BK 03566-LTS Employees Retirement System of the             84003             Undetermined*
      HC 71 BOX 7030                                                                                                         Government of the Commonwealth
      CAYEY, PR00736                                                                                                         of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
809   VELEZ ORTIZ, MIRIAM M.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    155304            Undetermined*
      CALLES LAS PARRAS #13 BARRIO TOITO
      CAYEY, PR00736

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
810   VELEZ PELLOT, GLORAI                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62421             Undetermined*
      CALLE D 119 RAMEY
      AGUADILLA, PR 00603

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
811   VELEZ PLAZA, EDWIN RAFAEL                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    74329             Undetermined*
      302 SANTIAGO ANDRADES BO. MAGUEYES
      PONCE, PR 00728

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
812   VELEZ RAMOS, JUAN A                                                                      7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62262             Undetermined*
      #6046 CARR 113 N BO TERRANOVA
      QUEBRADILLAS, PR 00678

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 123 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
813   VELEZ REYES, JANICE                                                                     6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69789                $ 45,000.00*
      2DA EXT. EL VALLE
      CALLE AMAPOLA 550
      LAJAS, PR 00667

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
814   VELEZ RIOS, IVONNE                                                                      6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77623             Undetermined*
      URB VALLE ALTO
      2392 CALLE LOMA
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
815   VELEZ RIVERA , WILLIE                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    60903             Undetermined*
      HC 02 BOX 8557
      JAYUYA, PR 00664

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
816   VELEZ RIVERA, WILLIE                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    71193             Undetermined*
      HC 02 BOX 8557
      JAYUYA, PR 00664

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
817   VELEZ RODRIGUEZ, ANATILDE                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    152986            Undetermined*
      URB HACIENDA LOS RECREOS
      CALLE JUBILO #81
      BOZON #118
      GUAYOMA, PR 00784

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
818   VELEZ RODRIGUEZ, FERNANDO L.                                                            6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51489             Undetermined*
      URB. EXT STA. ELENA
      CALLE JAGUEY S-13
      GUAYANILLA, PR 00656

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 124 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
819   VELEZ RODRIGUEZ, MONICA M                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72782             Undetermined*
      ESTANCIAS DEL GOLF CLUB #676
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
820   VÉLEZ RODRÍGUEZ, MÓNICA M                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72921             Undetermined*
      ESTANCIAS DEL GOLF CLUB #676
      PONCE, PR 00730

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
821   VELEZ RODRIGUEZ, NORMA I                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    44889                  $ 3,800.00
      HC 2 BOX 6547
      LARES, PR 00669

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
822   VELEZ ROSADO, MARIA R.                                                                  3/26/2019      17 BK 03283-LTS Commonwealth of Puerto Rico                    168354               $ 75,000.00*
      HC 09 BOX 6016
      SABANA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
823   VELEZ ROSADO, MARIA R.                                                                  3/26/2019      17 BK 03283-LTS Commonwealth of Puerto Rico                    168355               $ 75,000.00*
      HC 09 BOX 6016
      SABANA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
824   VELEZ RUIZ , IRMA R                                                                     6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62253             Undetermined*
      RESIDENTIAL DR. PEDRO J. PALOU
      EDIFICIO 6 APT. 49
      HUMACAO, PR 00791

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
825   VELEZ RUIZ, HECTOR LUIS                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    64416             Undetermined*
      CARRETERA ZOOLOGICO #1565
      MAYAGUEZ, PR 00680

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 125 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
826   VELEZ SANCHEZ, VIVIANA                                                                  6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56642                $ 15,600.00*
      BUZON 113 CARR 643
      MANATI, PR 00674

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
827   VELEZ SANJURJO, VICTOR M.                                                               6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    72828             Undetermined*
      VILLA SANTA CATALINA10047 CARR. 150
      COAMO, PR 00769

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
828   VELEZ SANTIAGO, CESAR JAFFET                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78792             Undetermined*
      HC 03 BOX 16591
      UTUADO, PR 00641

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
829   VELEZ SANTIAGO, KEISHLA ESTHER                                                          6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    94919             Undetermined*
      HC 03 BOX 16591
      UTUADO, PR 00641

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
830   VELEZ SOTO, CARMEN E                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the             62986             Undetermined*
      BARRIO ESPINO                                                                                                          Government of the Commonwealth
      BUZÓN HC 03 9369                                                                                                       of Puerto Rico
      LARES, PR 00669

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
831   VELEZ SOTO, MINELA                                                                      6/26/2018      17 BK 03566-LTS Employees Retirement System of the             60195             Undetermined*
      IDAMARIS GARDENS H-26 MIGUEL A GOMEZ                                                                                   Government of the Commonwealth
      CAGUAS, PR 00727                                                                                                       of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 126 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
832   VELEZ TORRES, CARMEN V.                                                                 6/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    40437             Undetermined*
      P.O. BOX 741
      ORANGE PARK, FL 32067

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
833   VELEZ TORRES, VIRGEN ADRIA                                                              6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    77899             Undetermined*
      3013 CALLE DANUBIO
      URB. RIO CANAS
      PONCE, PR 00728

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
834   VELEZ VAZQUEZ, ELBA I                                                                    7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    93927                $ 12,000.00*
      PO BOX 676
      GUANICA, PR 00653

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
835   VELEZ VEGA, ANGEL L                                                                     6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56123             Undetermined*
      PO BOX 193286
      SAN JUAN, PR 00919-3286

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
836   VELEZ VELÁZQUEZ, MARÍA M.                                                               6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49084             Undetermined*
      PO BOX 800561
      COTO LAUREL, PR 00780

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
837   VELEZ VELEZ, HERIBERTO                                                                   7/9/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51248             Undetermined*
      CALLE FRANSISCO #221
      QUEBRADILLAS, PR 00678

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
838   VELEZ VELEZ, HERIBERTO                                                                   7/9/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    73325             Undetermined*
      CALLE FRANCISCO #221
      QUEBRADILLAS, PR 00678

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 127 of 136
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                                                                     Ninety-Second Omnibus Objection
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                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
839   VELEZ VELEZ, HERIBERTO                                                                   7/9/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    105946            Undetermined*
      CALLE FRANCISCO #221
      QUEBRADILLAS, PR 00678

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
840   VELEZ, ANA                                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61926             Undetermined*
      HC 07 BOX 2432
      PONCE, PR 00731

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
841   VELEZ, ANTONIA DURAN                                                                    6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    51052             Undetermined*
      HC-06 BOX 17344 BO.SALTOS
      SAN SEBASTIAN, PR 00685

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
842   VÉLEZ, JOANNE RIVAS                                                                     6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55534                 $ 75,000.00
      P.O. BOX 335035
      PONCE, PR 00733-5035

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
843   VELEZ, LICELIA RODRIGUEZ                                                                 7/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    43174                 $ 1,700.00*
      RR 3 BOX 11256
      ANASCO, PR 00610

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
844   VELEZ, LONGINO MONTERO                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62990             Undetermined*
      HC 2 BOX 10836
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
845   VELEZ, NANCY PARDO                                                                      6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    48164             Undetermined*
      709 PINCON LN
      KISSIMMEE, FL 34759

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 128 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
846   VELIZ SOTO, INDIRA                                                                      6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    59405                  $ 1,000.00
      URBANIZACIÓN CIUDAD UNIVERSITARIA CALLE
      24 S-21
      TRUJILLO ALTO, PR 00976

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
847   VENEMIR BARETTY FONTANEZ                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    60767             Undetermined*
      CALLE ONIX W-16 VALLE DE CERRO GORDO
      BAYAMON, PR 00957

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
848   VERA CIURO, LUIS RAUL                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    89595             Undetermined*
      P.O BOX 169
      CANOVANAS, PR 00729

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
849   VERA MENDEZ, DANIEL A.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    47095             Undetermined*
      41184 SECT. PALMARITO
      QUEBRADILLAS, PR 00678-9321

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
850   VERA MENDEZ, DANIEL A.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    59075             Undetermined*
      41184 SECT. PALMARITO
      QUEBRADILLAS, PR 00678-9321

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
851   VERA MÉNDEZ, DANIEL A.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    61323             Undetermined*
      41184 SECT. PALMARITO
      QUEBRADILLAS, PR 00678-9321

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
852   VERA RODRÍGUEZ, ELBA I.                                                                 6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    50240             Undetermined*
      1646 MARQUESA URB. VALLE REAL
      PONCE, PR 00716-0504

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 129 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
853   VERA VALLE, BENITA                                                                      7/10/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    154231                 $ 3,000.00
      40711 CARR. 478
      QUEBRADILLAS, PR 00678

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
854   VERA VALLE, BENITA                                                                      7/10/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    148394                $ 3,000.00*
      40711 CARR. 478
      QUEBRADILLAS, PR 00678

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
855   VERA VEGA, ANGELICA                                                                     6/28/2018      17 BK 03566-LTS Employees Retirement System of the             132812            Undetermined*
      EXT. SAN MARTIN 48 CALLE R IRIZARRY TORRES                                                                             Government of the Commonwealth
      UTUADO, PR 00641-2101                                                                                                  of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
856   VERDEJO SANCHEZ , NORA E.                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78918             Undetermined*
      VIA 27 4JN#3
      VILLA FONTANA
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
857   VERDEJO SANCHEZ, NORA E.                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75340             Undetermined*
      VIA 27 4JN#3
      VILLA FONTANA
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
858   VERGARA TRINIDAD, PEDRO                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    97305             Undetermined*
      RR-3 BOX 4365
      SAN JUAN, PR 00926

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
859   VERGES RODRIGUEZ, JUAN M.                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    118674            Undetermined*
      PO BOX 1081
      ARROYO, PR 00714-1081

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 130 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
860   VICENS RIVERA, MYRNA V                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the             74499             Undetermined*
      HC 2 BOX 9125                                                                                                          Government of the Commonwealth
      COROZAL, PR 00783                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
861   VICENS RIVERA, MYRNA VIOLETA                                                            6/29/2018      17 BK 03566-LTS Employees Retirement System of the             74332             Undetermined*
      HC 2 BOX 9125                                                                                                          Government of the Commonwealth
      COROZAL, PR 00783                                                                                                      of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
862   VICÉNS RIVERA, MYRNA VIOLETA                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    76885             Undetermined*
      HC 2 BOX 9125
      COROZAL, PR 00783

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
863   VICENTE CRUZ, IVETTE DE LOURDES                                                         6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68048                 $ 50,000.00
      AJ-11 CALLE 39
      URB JARDINES DE COUNTRY CLUB
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
864   VICENTE LOPEZ, GILBERTO                                                                 6/29/2018      17 BK 03566-LTS Employees Retirement System of the             90191             Undetermined*
      RUISENOR A-29 STREET                                                                                                   Government of the Commonwealth
      VISTA DEL MORRO                                                                                                        of Puerto Rico
      CATANO, PR 00962

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
865   VICTOR HERNANDEZ PENA (VIUDO DE IVETTE J MORET RODRIGUEZ /                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    88398                 $ 10,680.00
      BENEFICIARO)
      PO BOX 593
      SAN LORENZO, PR 00754

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 131 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
866   VICTORIA CASTELLANOS, BLANCA M.                                                         6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    49958                 $ 16,800.00
      PO BOX 2092
      BAYAMON, PR 00960

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
867   VIDAL DE GARCIA, JULIA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    69693             Undetermined*
      HC 01 BOX 6151
      LAS PIEDRAS, PR 00771

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
868   VIDAL IRIZARRY, MARLENE N.                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    89339             Undetermined*
      CALLE VISTA AL SOL#11
      CABO ROJO, PR 00623

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
869   VIDAL IRIZARRY, MARLENE N.                                                              6/29/2018      17 BK 03566-LTS Employees Retirement System of the             78635             Undetermined*
      CALLE VISTA AL SOL#11                                                                                                  Government of the Commonwealth
      CABO ROJO, PR 00623                                                                                                    of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
870   VIDAL RODRIGUEZ, MARIA L.                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    65679             Undetermined*
      HC-01 BOX 6441
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
871   VIDAL ROSARIO, HECTOR L                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55345             Undetermined*
      HACIENDA FLORIDA
      485 CALLE GERANIO
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
872   VIDAL, NIVIA MARTINEZ                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                     60111            Undetermined*
      COLINAS DE YAUCO
      CALLE LOMA B-7
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 132 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
873   VIDAL, NIVIA MARTINEZ                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    63396             Undetermined*
      CALLE LOMA B-7
      YAUCO, PR 00698

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
874   VIDRO RODRIGUEZ, GUDELIA                                                                6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    55461             Undetermined*
      B-1 SABANA CALLE
      SABANA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
875   VIDRO RODRIGUEZ, GUDELIA                                                                6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57137             Undetermined*
      B-1 SABANA CALLE PUERTO RICO
      SABANA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
876   VIERA BOSCH, MIRIAM                                                                     6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    68219             Undetermined*
      URBANIZACION CONSTANCIA
      CALLE SAN FRANCISCO
      #2855
      PONCE, PR 00717

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
877   VIERA BOSCH, MIRIAM                                                                     6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83692             Undetermined*
      URBANIZACON CONSTANCIA
      CALLE SAN FRANCISCO # 2855
      PONCE, PR 00717

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
878   VIERA GONZALEZ, GLORIA SARAHI                                                           6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83617             Undetermined*
      CALLE PRINCIPAL 6
      PUNTA SANTIAGO, PR 00741

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
879   VIERA GONZÁLEZ, LUZ MERY                                                                6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58187             Undetermined*
      PO BOX 1542
      LAS PIEDRAS, PR 00771

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 133 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
880   VIERA LOPES, SYLVIA E.                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    57577                  $ 1,000.00
      SAN CLAUDIO MAIL ST.BOX 114
      SAN JUAN, PR 00926

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
881   VIERA MENDOZA, ANGEL L                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    99108             Undetermined*
      33 PASEOS DE SAN FELIPE
      ARECIBO, PR 00612

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
882   VIERA ORTIZ, NADEIDA                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the             69663             Undetermined*
      A19 COLINAS DE GURABO                                                                                                  Government of the Commonwealth
      GURABO, PR 00778-9606                                                                                                  of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
883   VIERA SERRANO , LOURDES M.                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83882             Undetermined*
      PO BOX 575
      BAJADERO, PR 00616

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
884   VIERA SERRANO, LOURDES M.                                                               6/29/2018      17 BK 03566-LTS Employees Retirement System of the             65906             Undetermined*
      P O BOX 575                                                                                                            Government of the Commonwealth
      BAJADERO, PR 00616                                                                                                     of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
885   VIERA SERRANO, LOURDES M.                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    80829             Undetermined*
      PO BOX 575
      BAJADERO, PR 00616

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
886   VIERA SERRANO, LOURDES M.                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    83053             Undetermined*
      P O. BOX 575
      BAJADERO, PR 00616

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 134 of 136
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                                                                     Ninety-Second Omnibus Objection
                                             Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                         ASSERTED CLAIM
      NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
887   VIERA SERRANO, MILTON A.                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58674             Undetermined*
      PO BOX 224
      BAJADERO, PR 00616

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
888   VIERA SERRANO, MILTON A.                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    95395             Undetermined*
      PO BOX 224
      BAJADERO, PR 00616

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
889   VIERA VARGAS, JOSE A.                                                                    7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    43786             Undetermined*
      BLOQ. 30 B #18 CALLE 9A URB. VILLA CAROLINA
      CAROLINA, PR 00985

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
890   VIERA VELAZQUEZ, VIVIAN L.                                                              6/28/2018      17 BK 03566-LTS Employees Retirement System of the             42935             Undetermined*
      JARDINES DE COUNTRY CLUB                                                                                               Government of the Commonwealth
      BH-20 CALLE 114                                                                                                        of Puerto Rico
      CAROLINA, PR 00983

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
891   VIGO GARCIA, LUIS I.                                                                    6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    42857                 $ 20,000.00
      URB. COLINAS METROPOLITANAS
      CALLE COLLORES H-20
      GUAYNABO, PR 00969

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
892   VILA FELICIANO, IVIS K.                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    58224                 $ 14,400.00
      HC 02 BOX 5910
      RINCON, PR 00677

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
893   VILEZ MONTALVO, ARNOLD                                                                   7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    128888            Undetermined*
      P.O. BOX 336
      SABANA GRANDE, PR 00637

      Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
      Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 135 of 136
                                   Case:17-03283-LTS Doc#:14624-3 Filed:10/20/20 Entered:10/20/20 11:16:00                                                 Desc:
                                                            Exhibit C Page 137 of 137

                                                                    Ninety-Second Omnibus Objection
                                            Exhibit C - Schedule of Deficient Claims to be Disallowed via Notice of Presentment
                                                                                                                                                                                   ASSERTED CLAIM
      NAME                                                                                DATE FILED      CASE NUMBER                      DEBTOR                     CLAIM #          AMOUNT
894   VILLAFAÑE MONTIJO, MAYRA I                                                           6/28/2018      17 BK 03566-LTS Employees Retirement System of the           69753             Undetermined*
      P.O. BOX 76                                                                                                         Government of the Commonwealth
      CIALES, PR 00638                                                                                                    of Puerto Rico

      Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
      supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
      whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
                                                                                                                                                                   TOTAL                 $ 6,654,757.27*




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 136 of 136
